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                   EXHIBIT 1
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STATE OF MINNESOTA                                                         DISTRICT COURT

COUNTY OF ANOKA                                                TENTH JUDICIAL DISTRICT


County of Anoka, State of Minnesota,
                                                                                   SUMMONS
                      Plaintiff,

       vs.
                                                                Dist. Ct. File No. -----
Tyler Technologies, Inc.,

                      Defendant.


THIS SUMMONS IS DIRECTED TO: DEFENDANT TYLER TECHNOLOGIES, INC.,
ABOVE-NAMED.

       1.      YOU ARE BEING SUED. The Plaintiff has started a lawsuit against you. The

Plaintiffs Complaint against you is attached to this summons. Do not throw these papers away.

They are official papers that affect your rights. You must respond to this lawsuit even though it

may not yet be filed with the Court and there may be no court file number on this summons.

       2.      YOU MUST REPLY WITHIN 20DAYS TO PROTECT YOUR RIGHTS.

You must give or mail to the person who signed this summons a written response called an

Answer within 20 days of the date on which you received this Summons. You must send a copy

of your Answer to the person who signed this summons located at:

                                             Jason J. Stover
                                          Christine V. Carney
                                   Assistant Anoka County Attorney
                                   Anoka County Government Center
                                     2100 Third Avenue, Suite 720
                                    Anoka, Minnesota 55303-5025
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       3.      YOU MUST RESPOND TO EACH CLAIM.                     The Answer is your written

response to the Plaintiffs Complaint. In your Answer you must state whether you agree or

disagree with each paragraph of the Complaint. If you believe the Plaintiff should not be given

everything asked for in the Complaint, you must say so in your Answer.

       4.      YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN

RESPONSE TO THE COMPLAINT TO THE PERSON                                WHO SIGNED THIS

SUMMONS. If you do not Answer within 20 days, you will lose this case. You will not get to

tell your side of the story, and the Court may decide against you and award the Plaintiff

everything asked for in the Complaint. If you do not want to contest the claims stated in the

Complaint, you do not need to respond. A default judgment can then be entered against you for

the relief requested in the Complaint.

       5.      LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you

do not have a lawyer, the Court Administrator may have infonnation about places where you can

get legal assistance.   Even if you cannot get legal help, you must still provide a written

Answer to protect your rights or you may lose the case.

       6.      ALTERNATIVE DISPUTE RESOLUTION. The parties may agree to or be

ordered to participate in an alternative dispute resolution process under Rule 114 of the

Minnesota General Rules of Practice.       You must still send your written response to the

Complaint even if you expect to use alternative means of resolving this dispute.




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                                           ANTHONY C. PALUMBO
                                           ANOKA COUNTY ATTORNEY



Dated: June 15, 2020                       By: ls/Jason J. Stover
                                               Jason J. Stover, ID #30573X
                                               Christine Carney, ID #0319491
                                               Assistant Anoka County Attorneys
                                               2100 Third Avenue, Ste. 720
                                               Anoka, MN 55303-5025
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                                               christine.carney@co.anoka.mn.us

                                               ATTORNEYS FOR PLAINTIFF




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STATE OF MINNESOTA                                                         IN DISTRICT COURT

COUNTY OF ANOKA                                                TENTH JUDICIAL DISTRICT
                                                       CASE TYPE: BREACH OF CONTRACT


County of Anoka,
                                                              Court File No. --------


                              Plaintiff,                                             COMPLAINT
         vs.

Tyler Technologies, Inc.,

                            Defendant.




         Anoka County, for its Complaint against Tyler Technologies, Inc. ("Tyler"), states and

alleges as follows:

                                 JURISDICTION AND VENUE

         1.     Anoka County is a political subdivision of the State of Minnesota.

         2.     Defendant Tyler is a corporation organized and existing under the laws of the State

of Delaware, with its primary place of business in the State of Texas.

         3.     This Court has general jurisdiction over Tyler because of its extensive past, present,

and continuing contacts with the State of Minnesota. Moreover, Tyler specifically consented to

jurisdiction before this Court through Section F(2) of the contract it executed with Anoka County.

Because this Complaint arises out of that contract, this Court also has specific jurisdiction over

Tyler.




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             TYLER HAS BREACHED ITS CONTRACT WITH ANOKA COUNTY

        4.      The parties entered a Phase 2 Services Agreement ("Agreement") dated February

23, 2017. A true and correct copy of the Agreement (with Exhibits A-C) is attached as Exhibit A.1

        5.       Pursuant to the Agreement, Tyler agreed to develop and implement an Integrated

Property Assessment, Tax, Land, and Vital Records System (the "System") for Anoka County.

Among other things, that System would allow Anoka County to assess real property for the

purposes of determining taxable value, and collect the taxes required by Minnesota law. The

System is essential to Anoka County's ability to operate as a political subdivision of the State of

Minnesota.

        6.       Pursuant to Section 8(11) of the Agreement, Tyler agreed to develop and

implement the System according to the schedule attached to the Agreement, subject only to an

extension granted by Anoka County.

        7.       The parties' Agreement originally called for Tyler to complete its work by the end

of July 2018. The parties acknowledged in the Agreement that if Tyler missed the July 2018

completion date, the next opportunity for Tyler to fulfill its contractual obligations would occur in

December 2018.

        8.       Tyler failed to take the steps necessary to complete its work in the time provided

by the Agreement. Tyler advised Anoka County during 2018 that the System would not be

completed by the July 2018 deadline.

        9.       When Tyler advised Anoka County that it would be unable to comply with its

contractual deadline, Anoka County accepted Tyler's request to amend the Agreement to provide

Tyler with additional time to complete its work. The parties executed Addendum No. 1 to the


1 TheAgreement contains additional exhibits, but the first three are the most relevant to the claims stated in this
Complaint.

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Agreement on August 20, 2018. A true and correct copy of Addendum No. 1 is attached as Exhibit

B.

        10.    Pursuant to Paragraph 1 of Addendum No. 1, the parties agreed to extend until

August 5, 2019, the date by which Tyler was required to complete its work to develop and

implement the System. That extension gave Tyler one full year to complete the work that should

have been completed by the end of July 2018.

        11.    As consideration for Anoka County's agreement to extend Tyler's contractual

completion date, Tyler agreed to reduce the fees owed by Anoka County, as described in

Addendum No. l.

        12.    Addendum No. 1 made clear that Tyler was required to complete its work by

August 5, 2019. According to Paragraph 5 of Addendum No. 1:

        Project Plan. Attached as Exhibit A to this Addendum is a High Level Project
        Schedule that will govern all remaining stages of this project. Tyler agrees to
        complete all of its work identified in the Project Plan according to the High Level
        Project Schedule, subject to Section B(8) of the Agreement. Failure by Tyler to
        materially comply with the High Level Project Schedule may constitute a breach of
        both this Addendum and the Agreement; provided, however that the parties
        recognize that the Target Dates shown on the High Level Project Schedule may
        need to be revised in the future as work progresses. The parties agree to work in
        good faith to discuss revisions to the Target Dates and/or High Level Project
        Schedule as they become necessary. Revisions to the Target Dates and/or High
        Level Project Schedule may be made pursuant to the Change Control Process
        outlined in Exhibit C of the Agreement. Notwithstanding the foregoing, Tyler
        and County agree that the Final Production Cut-Over Date set forth in
        Paragraph 1 shall not be subject to revision, and whatever other dates may be
        revised pursuant to joint agreement in the High Level Project Schedule, the
        Final Production Cut-Over Date will remain on a mutually agreeable date
        between July 12 and August 5, 2019, except as subject to Section B(8) of the
        Agreement. County shall have the same right to enforce the Project Plan as its
        right to enforce any other term of the Agreement.

(Emphasis Added). Tyler agreed that the System would be ready to "go-live" by no later than

August 5, 2019.



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       13.     Tyler again failed to comply with its contractual obligations. Tyler notified Anoka

County during 2019 that it would not be able to complete its work by the August 5 deadline to

which it had agreed only months earlier. Once again, Tyler could not deliver the finished System

by even the extended deadline it had negotiated.

        14.    On August 20, 2019, the parties entered into Addendum No. 2, which once again

extended Tyler's completion date to November 12, 2019. A true and correct copy of Addendum

No. 2 is attached as Exhibit C.

        15.    Through Addendum No. 2, Tyler agreed that "all modules of the final system shall

go live simultaneously" on November 12, with very limited exceptions as spelled out in the High

Level Project Schedule attached as an exhibit to Addendum No. 2.

        16.    Paragraph 3 of Addendum No. 2 provides:

               3.      Project Plan Attached as Exhibit A to this Addendum No. 2 is a

        revised High Level Project Schedule that will govern all remaining stages of Phase

        2 services. Tyler and Anoka each agree to complete all of their respective work

        identified in the Project Plan according to the revised High Level Project Schedule,

        subject to Section B(8) of the Agreement. Failure by Tyler to materially comply

        with the High Level Project Schedule as attached to this Addendum No. 2 may

        constitute a breach of both this Addendum and the Agreement; provided, however

        that the parties recognized that the Due Dates shown on the High Level Project

        Schedule may need to be revised in the future as work progresses. The parties agree

        to work in good faith to discuss revisions to the Due Dates and/or High Level

        Project Schedule as such revisions become necessary. Revisions to the Due Dates

        and/or High Level Project Schedule may be made pursuant to the Change Control



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       Process outlined in Exhibit C of the Agreement. Notwithstanding the foregoing,

       Tyler and County agree that the dates for (i) commencement of Full System

       Integration Testing (September 16, 2019) and (ii) Final Production Cut-Over ("Go-

       Live" on the High Level Project Schedule, November 12, 2019) set forth in the

       revised High Level Project Schedule shall not be subject to revision, and whatever

       other dates in the High Level Project Schedule may be revised, the dates for the

       commencement of Full System Integration Testing and the Final Production Cut-

       Over will not change, except as subject to Section B(8) of the Agreement.

       17.     As it had done through Addendum No. 1, Tyler again made financial concessions

to Anoka County as an effort to compensate Anoka County for some of the damages Anoka County

had incurred as a result of Tyler's continued failure to complete its work according to the project

schedule.

        18.    Even though it had contractually agreed through Addendum No. 2 that the "go live"

date of November 12, 2019, "shall not be subject to revision," Tyler again failed to complete its

work on time. That failure represents the third time Tyler missed its contractual deadline to deliver

a fully-operational System.

        19.    Tyler did not complete by November 12, 2019, all the tasks required by the parties'

contract, as amended by Addenda Nos. l and 2.

       20.     By letter dated February 21, 2020, Anoka County advised Tyler that the System

was not complete. Anoka County identified dozens of specific tasks that Tyler had still not

performed correctly. That partial list consisted of just some of the problems that Anoka County

was experiencing with the System. A true and correct copy of Anoka County's February 21 letter

(with attached exhibit) is attached as Exhibit D.



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       21.     Anoka County gave Tyler a deadline of March 16 to complete work on some

specified overdue items, and a deadline of April 17 to complete all remaining work on the project

(with the exception ofa very limited number of items with an original agreed due date after April

17). If Tyler did not meet those deadlines, Anoka County advised Tyler it would have no choice

but to commence legal action to enforce Tyler's contractual obligations.

       22.     Tyler failed to comply with either ofthe extended deadlines Anoka County gave in

its February 21 letter. Specifically, Tyler failed to complete those tasks that Anoka County had

identified as essential to be completed by March 16. Tyler also failed to complete the remainder

of its work by April 17.

       23.     As of the date this Complaint is filed, Tyler still has not completed the work

necessary to give Anoka County the System Tyler was contractually obligated to provide by

November 12, 2019. Dozens of issues remain to be resolved, and Tyler has refused to commit to

completing those issues by any specific future date.

       24.     Tyler's failure to complete its work constitutes a breach of contract that entitles

Anoka County to a decree of specific performance as well as an award of damages.

          COUNT I- BREACH OF CONTRACT (SPECIFIC PERFORMANCE)

       25.     Anoka County incorporates herein by reference the preceding paragraphs of this

Complaint.

       26.     Anoka County and Tyler entered a specialty contract pursuant to which Tyler

agreed to build Anoka County a unique Property Assessment, Tax, Land, and Vital Records

System.

        27.    The parties' contract, as amended, imposed specific deadlines by which Tyler

agreed to complete various aspects ofthe System.



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       28.     Tyler has breached the parties' contract by failing to complete all work required by

the deadlines to which it agreed. As of the date this Complaint is filed, the System that should

have been fully completed by November 12, 2019, has still not been completed.

       29.     As a result of Tyler's breach, Anoka County is left without a fully-functioning

property tax system. Tyler's breach of contract is impairing Anoka County's ability to carry out

its essential government functions.

       30.     Anoka County seeks an order of specific performance requiring Tyler to complete

all work necessary to provide Anoka County the unique and essential System for which it

contracted, and which it requires to perform its essential government functions.

                       COUNT II-BREACH OF CONTRACT (DAMAGES)

        31.    Anoka County incorporates herein by reference the preceding paragraphs of this

Complaint.

       32.     As a result of Tyler's breach of contract, Anoka County has suffered extensive

damages. Those damages include, but are not limited to, staff time related to Tyler's failed

implementation of the System, increased costs associated with attempts to work around Tyler's

breaches, and other damages.

       33.     Anoka County will prove at trial the precise amount of damages to which it is

entitled, but reasonably estimates those damages to exceed $50,000.

       WHEREFORE, Anoka County asks this Court to enter an order:

        1.     Imposing a deadline by which Tyler must specifically perform all obligations under

the Agreement;

       2.      Compensating Anoka County for the damages it has incurred as a result of Tyler's

breach of contract;



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       3.      Awarding Anoka County the attorneys' fees and costs incurred in connection with

this action; and

       4.      Granting any further relief that the Court finds just and equitable.



Dated: June 15, 2020                                  ANTHONY C. PALUMBO
                                                      ANOKA COUNTY ATTORNEY


                                                      By    Isl Jason J. Stover
                                                           Jason J. Stover, ID #30573X
                                                           Christine Carney, ID #03 19491
                                                           Assistant Anoka County Attorneys
                                                           2100 Third A venue, Ste. 720
                                                           Anoka, MN 55303-5025
                                                           Telephone: (763) 324-5457
                                                           jason.stover@co.anoka.mn.us
                                                           christine.carney@co.anoka.mn.us
                                                           ATTORNEYS FOR PLAINTIFF




                                   ACKNOWLEDGEMENT

       The undersigned acknowledges that costs, disbursements, and fees may be awarded
pursuant to Minn. Stat. § 549.211.


Dated: June 15, 2020                                  ANTHONY C. PALUMBO
                                                      ANOKA COUNTY ATTORNEY


                                                      By    Isl Jason J. Stover
                                                           Jason J. Stover, ID #30573X
                                                           Christine Carney, ID #0319491
                                                           Assistant Anoka County Attorneys
                                                           2100 Third Avenue, Ste. 720
                                                           Anoka, MN 55303-5025
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                                                           christine.carney@co.anoka.mn.us
                                                           ATTORNEYS FOR PLAINTIFF


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                                   PHASE 2 SERVICES AGREEMENT

This Agreement is made between Tyler Technologies, Inc. and Client.

WHEREAS, Client has issued an RFP for an Integrated Property Assessment, Tax, Land and Vital Records System
project (the "Project"); and

WHEREAS, Tyler submitted a proposal in response to said RFP dated April 27, 2015 to perform services to fulfill
the needs of the Client ("Proposal"); and

WHEREAS, Tyler and Client completed Phase 1 of the Client's Project to the mutual satisfaction of both parties;
and

WHEREAS, Client and Tyler agree to proceed to Phase 2 of the Client's Project pursuant to which Tyler shall
provide certain software implementation services set forth in the Investment Summary, and Tyler desires to
provide such services under the terms of this Agreement;

NOW THEREFORE, in consideration of the foregoing and of the mutual covenants and promises set forth in this
Agreement, Tyler and Client agree as follows:

SECTION A- DEFINITIONS
   • "Agreement" means this Phase 2 Services Agreement.
   •    "Client" or "County" means the County of Anoka, Minnesota.
   • "Data" means the Client data provided to Tyler.
   • "Effective Date" means the date on which your authorized representative signs the Agreement.
   • "Force Majeure" means an event beyond the reasonable control of you or us, including, without
       limitation, governmental action, war, riot or civil commotion, fire, natural disaster, severe or unusual
       weather or climatic conditions which exist for a substantial period of time, extreme inflation (defined as
       eight percent or greater per year) or any other cause that could not with reasonable diligence be
       foreseen or prevented by you or us.
   • "Software as a Service Agreement" and/or "Saas Contract" means the Software as a Service Agreement
       in the form attached hereto as Exhibit Hand executed by you and us on even date with this Agreement
       and which governs your access to and use of the Tyler Software and the Selectron third party software.
   • "Statement(s) of Work" and/or "Phase 1 Final Report" means the mutually agreed-to documents setting
       forth roles, responsibilities, tasks, project phasing, for Tyler, and scope of services for the third-party
       service provider, Selectron, set forth at Exhibit C.
   • "Investment Summary'' means the total fixed price to complete the services described in this
       Agreement, attached as Exhibit A.
   •    "Invoicing and Payment Policy" means the invoicing and payment policy. A copy of our current
       Invoicing and Payment Policy is attached as Exhibit B.
   • "Tyler" means Tyler Technologies, Inc., a Delaware corporation.



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    •   "we", "us", "our" and similar terms mean Tyler.
    •   "you" and similar terms mean Client.

SECTION B - PROFESSIONAL SERVICES

1. Services. We will provide you the professional services, consistent with industry standards, as described in
   Exhibit C.

2. Professional Services Fees. You agree to pay us the professional services fees In the amounts set forth In
   the Investment Summary, Including the Selectron Implementation Services Identified therein. Those
   amounts are based on the scope of the project as of the Effective Date, as such scope is described in the
   Investment Summary and the Statement(s) of Work. Those amounts are payable in accordance with the
   milestone payment schedule and our Invoicing and Payment Polley set forth in Exhibit B.

3. Additional Services. The Investment Summary contains the scope of services and related costs required for
   the project based on our understanding of the specifications you supplied. Any changes to the scope of
   services and related costs must be approved in writing by both parties prior to investigation,
   implementation, or performance of any service by Tyler. The Tyler Project Manager will prepare change
   orders and/or amendments to the Agreement and then present them to Client for approval. The prlce
   quotes in the addendum or change order will be valid for thirty (30) days. With respect to additional services
   beyond those set forth in the Exhibits to this Agreement, mutually-agreed change order(s) may not reflect
   an aggregate increase in the total fees shown in Exhibit A - Investment Summary, by more than Four
   Hundred Thousand Dollars ($400,000) without,an amendment to the Agreement signed by both parties.

4. Cancellation. If travel is required, we will make all reasonable efforts to schedule travel for our personnel,
   Including arranging travel reservations, at least two (2) weeks In advance of commitments. Therefore, if you
   cancel services less than two (2) weeks in advance (other than for Force Majeure or breach by us), you will
   be liable for all (a) non-refundable expenses incurred by us on your behalf, and (b) daily fees associated with
   cancelled professional services if we are unable to reassign our personnel. We will make all reasonable
   efforts to reassign personnel in the event you cancel within two (2) weeks of scheduled commitments. The
   foregoing notwithstanding, Tyler will waive your dally fees for the first cancellation for which you would
   have liability under this provision.

s. Services Warranty. We will perform the implementation services in a professional, workmanlike manner,
    consistent with Industry standards. Tyler warrants and represents that all work and services provided under
    this Agreement shall conform to (a) the terms of this Agreement, (b) the County's Request for Proposal, (c)
    Tyler's Response to Proposal, and (d) shall meet professional standards for work and services of this type.
    In the event we provide services that do not conform to this warranty, we will re-perform such services at
    no additional cost to you.

6. Prime Vendor. The fees set forth in the Investment Summary reflect our role as prime vendor under this
   Agreement for the software implementation services provided by Selectron. Terms applicable to Selectron
   software, maintenance and service level agreements are addressed in the Software as a Service Agreement.
   You will be directly receiving Selectron services, as set forth in Exhibit C. Any services you request or require
   from Selectron beyond the scope outlined therein and the associated fees itemized in the Investment
   Summary, will be subject to the terms of Section B(3). We will oversee, coordinate and assume responsibility
   for the delivery of the Selectron implementation services itemized in the Investment Summary and



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     described in its SOW so that those services fulfill the overall project delivery described in our SOW. You
     acknowledge that the Selectron SOW, set forth at Exhibit C is negotiated by you with Selectron and defines
     how Selectron will deliver its services to you. In the event Selectron is terminated from the project, we will
     identify a reasonable replacement and will present you with updated pricing and scope information for
     incorporation into the Agreement.

7.   Site Access and Requirements. You agree to provide us with full and free access to your personnel as may
     be reasonably necessary for us to provide services, subject to any reasonable security protocols or other
     written policies provided to us as of the Effective Date and thereafter as mutually agreed to by you and us.
     Tyler and its employees agree to comply with Anoka County's written policies for accessing the County's
     resources which are provided to and agreed to by Tyler as of the Effective Date and thereafter as mutually
     agreed to by you and us.

8.   Client Assistance. You acknowledge that the project outlined in this Agreement is a cooperative process
     requiring the time and resources of your personnel. You agree to use all reasonable efforts to cooperate
     with and assist us as may be reasonably required to meet the agreed upon project deadlines and other
     milestones for implementation. This cooperation includes at least working with us to schedule the
     implementation-related services you have contracted for. We will not be liable for failure to meet any
     deadlines and milestones when such failure is due to Force Majeure or to the failure by your personnel to
     provide such cooperation and assistance (either through action or omission). Where services are being
     provided by Selectron, you agree that these same requirements provisions extend to Selectron.

9.   Assignment of Tyler Personnel. Tyler warrants that all work under this Agreement will be performed by
     competent and qualified personnel who are properly trained to perform the work. Tyler recognizes that it
     is important to the County to maintain continuity among the staff that works on the project. Therefore,
     Tyler will make commercially reasonable efforts to not remove staff and personnel assigned during this
     Phase 2 Services Agreement from their assigned Project roles and during the transition from the Phase 1
     Agreement to this Phase 2 Agreement; provided, however, that you understand and agree that
     unreasonable delay on your part in issuing a notice to proceed with this Phase 2 Agreement may impact on
     (i) our ability to maintain the same Project staffing assignments for Phase 2 as were assigned to Phase 1 and
     (ii) the date on which we can commence work on Phase 2. Both parties agree that they will use commercially
     reasonable efforts to not remove that staff and personnel from their assigned Project roles without
     reasonable advance notice, and that the parties will work together to mitigate project impacts after any such
     removal. Tyler shall also designate a person as the Project Manager who shall serve as Tyler's liaison with
     the County throughout the project and shall coordinate all of Tyler's activities. You agree that staffing
     assignments are within our reasonable discretion subject to County's prior review of the qualifications of
     assigned staff, and that you will not unreasonably protest those assignments. That staffing discretion
     extends to the staff designated by Selectron.

10. Acceptance. The Acceptance Process for Deliverables and Control Points, as those terms are defined in the
    Statement of Work, is described in Exhibit C.

11. Completion of Project. Tyler shall complete, in an acceptable manner, all work described In Exhibit C,
    subject only to an extension as agreed upon by the County and Tyler. The parties acknowledge that
    County's major business process will dictate the windows of opportunity for final production cut-over. If it
    appears the project will be unable to meet a final production cut-over of July 2018, then the next window of
    opportunity for final production cut-over will occur in December 2018. Due to the integration of the



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     County's existing system, all Tyler modules must have a final production cut-over at the same time, unless
     otherwise agreed upon by the County.

SECTION C- INVOICING AND PAYMENT; INVOICE DISPUTES

1.   Invoicing and Payment. Tyler shall submit to the County an itemized statement containing such Information
     as Is required by the County acceptance process for each payment milestone completed as detailed in Exhibit
     B. County shall pay any undisputed amounts of the itemized statement within 30 days of receipt. County
     shall not be· required to pay an invoice for a payment milestone identified in Exhibit B until County has first
     provided formal acceptance of the work associated with that invoice pursuant to the terms of the Statement
     of Work. If a dispute arises between Tyler and County as to whether a particular payment milestone has
     been completed, the parties shall Invoke the Dispute Resolution process described in Section F(2) and
     County will not be required to pay any amounts to Tyler associated with that milestone until the dispute has
     been resolved. As long as the parties have invoked and are complying with the Dispute Resolution process
     in Section F(2), Tyler will continue to meet its obligations under the Statement of Work during the pend ency
     of any dispute between the parties regarding payment associated with a particular milestone.
                                                                   <.


2.   Invoice Disputes. If you believe any delivered service does not conform to the warranties in this Agreement,
     you will provide us with written notice within thirty (30) days of your receipt of the applicable invoice. The
     written notice must contain sufficient detail of the issues you contend are in dispute. We will provide a
     written response to you that will Include either a justification of the invoice, an adjustment to the Invoice,
     or a proposal addressing the issues presented in your notice. We will work together as may be necessary to
     develop an action plan that outlines reasonable steps to be taken by each of us to resolve any Issues
     presented in your notice. You may only withhold payment of the amount(s) actually in dispute until we
     complete the action Items outlined in the plan. If we are unable to complete the action items outlined in
     the action plan because of your failure to complete the items agreed to be done by you, then you will remit
     full payment of the invoice. We reserve the right to suspend delivery of all services if you fall to pay an
     invoice not disputed as described above.

SECTION D --TERM AND TERMINATION

1.   Term. This Agreement shall commence on the Effective Date and shall terminate on the completion of the
     work described in Exhibit C, or as may be defined by the parties In the project plan and acceptance of such
     work by you as described In Exhibit C and our receipt of payment for the work described in Exhibit C. This
     Agreement may be extended or renewed upon written mutual agreement of the parties.

2.   For Cause. You may terminate this Agreement for cause in the event we don't cure, or create a mutually
     agreeable action plan to address, a material breach of this Agreement within forty-five (45) days of receiving
     a written notice of the alleged breach. You agree to comply with Section F(2), Dispute Resolution, prior to
     termination. In the event of termination for cause, you will pay us for all undisputed fees and expenses
     related to the services you have received, or we have incurred and/or delivered, prior to the effective date
     of termination. Any disputed fees and expenses will be subject to Section F(2) Dispute Resolution. In the
     event of termination for cause, you may recover from Tyler all direct damages available pursuant to
     applicable law, subject to the limitation of liability provided in Section E(3).

3.   Force Majeure. Either party has the right to terminate this Agreement if a Force Majeure event suspends
     performance of scheduled tasks for a period of forty-five (45) days or more. In the event of termination due



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     to Force Majeure, you will pay us for all undisputed fees and expenses related to the services you have
     received, or we have incurred or delivered, prior to the effective date of termination.

SECTIO N E - INDEMNIFICATIO N, LIMITATIO N OF LIABILITY AND INSURANCE


1.   Property Damage and Personal Injury Indemnification.

     1.1 We will indemnify and hold harmless you and your agents, elected officials, employees, and officers from
     and against any and all direct claims, losses, liabilities, damages, costs, and expenses (including reasonable
     attorney's fees and costs) for personal injury or property damage to the extent caused by our negligence or
     willful misconduct, and with respect to the degree to which you and your agents, officials and employees
     are free from negligence. You must notify us promptly in writing of the claim and give us sole control over
     its defense or settlement. You agree to provide us with reasonable assistance, cooperation, and information
     in defending the claim at our expense.

     1.2 Subject to exceptions and limitations provided by law, including but not limited to those contained in
     Minnesota Statutes, Chapter 466, you will indemnify and hold harmless us and our agents, officials, and
     employees from and against any and all direct claims, losses, liabilities, damages, costs, and expenses
     (including reasonable attorney's fees and costs) for personal injury or property damage to the extent caused
     by your negligence or willful misconduct, and with respect to the degree to which we and our agents, officials
     and employees are free from negligence.

2.   DISCLAIMER.    EXCEPT FO R THE EXPRESS WARRANTIES PROVIDED IN THIS AGREEMENT AN D TO THE
     MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, WE HEREBY DISCLAIM All OTHER WARRAN TIES AND
     CONDITIO NS, WHETHER EXPRESS, IMPLIED , OR STATUTO RY, INCLUDING, BUT NO T LIMITED TO , ANY
     IMPLIED WARRANTIES, DUTIES, OR CONDITIO NS OF MERCHANTABILITY OR FITNESS FO R A PARTICULAR
     PURPOSE.

3.   LIMITATIO N O F LIABILITY.    EXCEPT AS OTHERWISE EXPRESSLY SET FO RTH IN THIS AGREEMENT, OUR
     LIABILITY FO R DAMAGES ARISING OUT OF THIS AGREEMENT, WHETHER BASED ON A THEO RY OF
     CONTRACT OR TORT, INCLUDING NEGLIGENCE AND STRICT LIABILITY, SHALL BE LIMITED TO THE LESSER
     OF (A) YOUR ACTUAL DIRECT DAMAGES OR (B) ONE AND ONE-HALF (1.5) TIMES THE AMO UNTS PAID BY
     YO U UNDER THIS AGREEMENT, NOT TO EXCEED $4.8 MILLIO N.                   THE PRICES SET FO RTH IN THIS
     AGREEMENT ARE SET IN RELIANCE UPO N THIS LIMITATIO N OF LIABILITY. THE FO REGO ING LIMITATIO N OF
     LIABILITY SHALL NO T APPLY TO CLAIMS THAT ARE SUBJECT TO SECTIO N E(1) ABOVE.

4.   EXCLUSIO N OF CERTAIN DAMAGES.          EXCEPT AS OTHERWISE PRO VIDED IN THIS AGREEMENT , TO THE
     MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, IN NO EVENT SHALL WE BE LIABLE FO R AN Y SPECIAL,
     INCIDENTAL, PUNITIVE, INDIRECT, OR CONSEQUENTIAL DAMAGES WHATSOEVER, INCLUDING BUT NOT
     LIMITED TO LOSS OF TAX REVENUE OR CLAIMS RELATED TO VALUATION OF PROPERTY, EVEN IF WE HAVE
     BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES.

5.   Insurance. During the course of performing services under this Agreement, we agree to comply with Anoka
     County's insurance requirements, as set forth in Exhibit E. We will add you as an additional insured and
     provide you with copies of certificates of insurance upon written request.

6.   Audit Disclosure and Retention of Records.         Tyler agrees to make available to duly-authorized
     representatives of the County and of the State of Minnesota, for the purpose of audit examination pursuant


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     to Minn. Stat. § 16C.05, any books, documents, papers, and records of Tyler that are pertinent to Tyler's
     provision of services hereunder. Tyler further agrees to maintain all such required records for six years after
     receipt of final payment and the closing of all other related matters.

SECTION F - GENERAL TERMS AND CONDITIONS

1. Additional Products and Services. You may purchase additional services at our then-current 11st price by
     executing a mutually agreed addendum. The terms of this Agreement will control any such additional
     purchase(s), unless otherwise specifically provided in the addendum.

2.   Dispute Resolution. You agree to provide us with written notice within forty-five (45) days of becoming
     aware of a dispute. You agree to cooperate with us In trying to reasonably resolve all disputes, including, if
     requested by either party, appointing a sen tor representative to meet and engage in good faith negotiations
     with our appointed senior representative. All meetings and discussions between senior representatives will
     be deemed confidential settlement discussions not subject to disclosure under Federal Rule of Evidence 408
     or any similar applicable state rule. If we fail to resolve the dispute, either of us may assert our respective
     rights and remedies in the state or federal courts of Minnesota. The parties agree that the exclusive venue       '-·
     In any action to enforce or interpret this agreement, or to resolve a dispute arising under or related to this
     agreement, shall be in the Tenth Judicial District-Anoka County District Court or the US District Court for the
     District of Minnesota. The parties hereby consent to the exclusive jurisdiction of the Tenth Judicial District-
     Anoka County District Court or United States District Court for the District of Minnesota. Nothing In this
     section shall prevent you or us from seeking necessary injunctive relief during the dispute resolution
     procedures.

3.   Taxes. The fees in the Investment Summary do not Include any taxes, Including, without limitation, sates,
     use, or excise tax. If you are a tax-exempt entity, you agree to provide us with a tax-exempt certificate.
     Otherwise, we will pay all applicable taxes to the proper authorities and you will reimburse us for such taxes.
     If you have a valid direct-pay permit, you agree to provide us with a copy. For clarity, we are responsible for
     paying our Income taxes arising from our performance of thts Agreement. The parties agree that Client wtll
     not make payments to Tyler until Tyler has made satisfactory showing that it has compiled with the
     provisions of Minn. Stat. $ 290.92 requiring the withholding of state income tax from wages paid to Tyler's
     employees and to employees of any subcontractors hired by Tyler for work performed under this
     Agreement. Tyler will provide the County with a letter stating the requirements have been met.

4.   Nondiscrimination. We will not discriminate against any person employed or applying for employment
     concerning the performance of our responsibilities under this Agreement. This discrimination prohibition
     will apply to all matters of initial employment, tenure, and terms of employment, or otherwise with respect
     to any matter directly or Indirectly relating to employment concerning race, color, religion, national origin,
     age, sex, sexual orientation, ancestry, disability that Is unrelated to the individual's ability to perform the
     duties of a particular Job or position, height, weight, marital status, or political affiliation. We wlll post,
     where appropriate, all notices related to nondiscrimination as may be required by applicable law. We agree
     to abide by the provisions of Minn. Stat. $ 181.59, entitled "Discrimination on Account of Race, Creed, or
     Color Prohibited in Contract."

5.   E-Verlfy. We have complied, and will comply, with the E-Verify procedures administered by the U.S.
     Citizenship and Immigration Services Verification Division for all of our employees assigned to your project.




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6.   Subcontractors. We will not subcontract any services under this Agreement without your prior written
     consent, not to be unreasonably withheld. If a subcontractor is retained, Tyler will obtain written
     assurances, in a format acceptable to County, that such subcontractor waives any and all rights it may have
     under Minn. Stat. $ 574.29 to obtain payment for materials or labor from County. The Contractor shall be
     responsible for ensuring that all subcontractors provide services that conform to the services warranty as
     provided in Section B(5) above.

7.   No Assignment. Neither party may assign this Agreement without the prior written consent of the other
     party; provided, however, that your consent is not required in the event we have a change of control.

8.   Force Majeure. Neither party will be liable for delays in performing its obligations under this Agreement to
     the extent that the delay is caused by Force Majeure; provided, however, that within ten (10) business days
     of the Force Majeure event, the party whose performance is delayed provides the other party with written
     notice explaining the cause and extent thereof, as well as a request for a reasonable time extension equal
     to the estimated duration of the Force Majeure event.

9.   Compliance with Laws. Tyler shall abide by all statutes, ordinances, rules and regulations pertaining to or
     regulating the provision of such services, including those now in effect and hereafter adopted. Any violation
     of said statutes, ordinances, rules, or regulations shall constitute a material breach of this Agreement and
     shall entitle the County to terminate this Agreement pursuant to Section D(2) of this Agreement.

10. No Intended Third Party Beneficiaries. This Agreement is entered into solely for the benefit of you and us.
    No third party will be deemed a beneficiary of this Agreement, and no third party will have the right to make
    any claim or assert any right under this Agreement.

11. Client IT Access Agreement. Tyler, on its own behalf and on behalf of its employees, agrees to be bound by
    the terms of the Anoka County Information Technology Usage Agreement attached as Exhibit D, and will
    obtain a signed copy of that agreement on an annual basis from each Tyler employee who works physically
    onsite for this project on Tyler's behalf and who will access the County's network, servers or workstations.
    Tyler and its employees agree to be bound by the terms of the Information Technology Usage Agreement,
    including but not limited to those provisions that address issues concerning remote access. Tyler agrees to
    re-sign a mutually agreed to, revised, Technology Usage Agreement on its own behalf and on behalf of its
    employees on an annual basis to maintain connectivity to County assets. Additionally, Tyler will provide
    access to Client Data only to our employees and subcontractors who need to access the Client Data to
    fulfill our obligations under this Agreement. All employees and individuals working as our subcontractors
    have signed a confidentiality agreement. We will ensure that employees and individuals working as
    subcontractors who access Client Data to perform work under this Agreement are advised upon, agree to
    be bound by, and receive appropriate instruction as to how to comply with, the data protection provisions
    as specified in this contract.

12. Entire Agreement; Amendment. This Agreement shall consist of this writing, including exhibits, hereto. For
    purposes of interpretation, the priority of documents shall be as follows:

     a.   This written Agreement;
     b.   The response to the RFP submitted by Tyler, dated April 27, 2015;
     c.   The Request for Proposals (RFP) issued by the County and dated February 6, 2015.




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   If there is a direct conflict in the terms contained in any of the documents, this Agreement shall control. If
   there is a direct conflict in the terms of Tyler's response to the RFP and the RFP, Tyler's response to the RFP
   shall control. This Agreement (with exhibits) represents the entire agreement between you and us with
   respect to the subject matter hereof, and supersedes any prior agreements, understandings, and
   representations, whether written, oral, expressed, implied, or statutory. This Agreement may only be
   modified by a written amendment signed by an authorized representative of each party.


   The parties are also entering into a Software as a Service Agreement (the "SaaS Agreement") of near or even
   date herewith. The Saas Agreement is a separate contract not included within this Phase 2 Services
   Agreement.

13. Severability. If any term or provision of this Agreement is held invalid or unenforceable, the remainder of
    this Agreement will be considered valid and enforceable to the fullest extent permitted by law.

14. No Waiver. In the event that the terms and conditions of this Agreement are not strictly enforced by either
    party, such non-enforcement will not act as or be deemed to act as a waiver or modification of this
    Agreement, nor will such non-enforcement prevent such party from enforcing each and every term of this
    Agreement thereafter.

15. Independent Contractor. We are an independent contractor for all purposes under this Agreement.

16. Notices. All notices or communications required or permitted as a part of this Agreement must be in writing
    and will be deemed delivered upon the earlier of the following: (a) actual receipt by the receiving party; (b)
    upon receipt by sender of a certified mail, return receipt signed by an employee or agent of the receiving
    party; (c) upon receipt by sender of proof of email delivery; or (d) if not actually received, five (5) days after
    deposit with the United States Postal Service authorized mail center with proper postage (certified mail,
    return receipt requested) affixed and addressed to the other party at the address set forth on the signature
    page hereto or such other address as the party may have designated by proper notice. The consequences
    for the failure to receive a notice due to improper notification by the intended receiving party of a change
    in address will be borne by the intended receiving party. Notices under this Agreement shall be sent to the
    addresses identified at the bottom of this document.

17. Client lists. You agree that we may identify you by name in client lists, marketing presentations, and
    promotional materials.

18. Confidentiality. Both parties recognize that their respective employees and agents, in the course of
    performance of this Agreement, may be exposed to confidential information and that disclosure of such
    information could violate rights to private individuals and entities, including the parties. In addition, Tyler
    may be exposed to confidential information relating to the County's computers, network, and programs. In
    recognition of the need to protect this information, Tyler agrees that it shall regard and treat each item of
    such information as a trade secret and/or confidential information and that it will not, without the express
    written consent of the County or except as required by law, redistribute, market, publish, disclose or divulge
    to any other person, firm, or entity, or use or modify for use, directly or indirectly, in any way, for any person
    or entity, any such information. At the termination of this Agreement, Tyler shall return to the County all
    confidential information. Confidential information is nonpublic information that a reasonable person would
    believe to be confidential and includes, without limitation, personal identifying information (e.g., social
    security numbers) and trade secrets, each as defined by applicable state law. Each party agrees that it will
    not disclose any confidential information of the other party and further agrees to take all reasonable and



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   appropriate action to prevent such disclosure by its employees or agents. The confidentiality covenants
   contained herein will survive the termination or cancellation of this Agreement. This obligation of
   confidentiality will not apply to information that:

       (a) is in the public domain, either at the time of disclosure or afterwards, except by breach of this
           Agreement by a party or its employees or agents;
       (b) a party can establish by reasonable proof was in that party's possession at the time of initial
           disclosure;
       (c) a party receives from a third party who has a right to disclose it to the receiving party; or
       (d) is the subject of a legitimate disclosure request under the open records laws or similar applicable
           public disclosure laws governing this Agreement; provided, however, that in the event you receive
           an open records or other similar applicable request, you will give us prompt notice and otherwise
           perform the functions required by applicable law.

19. Business License. In the event a local business license is required for us to perform services hereunder, you
    will promptly notify us and provide us with the necessary paperwork and/or contact information so that we
    may timely obtain such license.

20. Client Authority. You represent and warrant that you enter into this Agreement with the approval of your
    governing body and in accordance with all applicable statutory requirements.

21. Governing Law. This Agreement will be governed by and construed in accordance with the laws of the State
    of Minnesota, without regard to its conflict of laws principles. The parties agree that venue in any action to
    enforce or interpret this agreement, or to resolve a dispute arising under or related to this agreement, shall
    be in the Tenth Judicial District-Anoka County District Court or the US District Court for the District of
    Minnesota. The parties hereby consent to the exclusive jurisdiction of the Tenth Judicial District-Anoka
    County District Court or the US District Court for the District of Minnesota.

21. Data Privacy. In collecting, storing, using and disseminating data on individuals in the course of providing
    services hereunder, Tyler agrees to abide by all applicable state and federal statutes, rules and regulations
    covering data privacy, including, but not limited to, the Minnesota Data Practices Act and all rules
    promulgated pursuant thereto by the Commissioner of the Department of Administration. All data created,
    collected, received, stored, used, maintained, or disseminated by Tyler in performing this Agreement is also
    subject to the provisions of Minn. Stat. § 13.01 et. seq. (the Minnesota Government Data Practices Act).
    Tyler agrees to comply with all applicable provisions of that statute. If Tyler supplies a formula, pattern,
    compilation, program, device, method, technique or process (1) that it has used reasonable methods to
    prevent disclosure prior to this Agreement and (2) which has independent economic value, actual or
    potential, from not being generally known to, or not readily ascertainable by proper means by others
    who can obtain economic value from its disclosure or use, then County will treat such data supplied by
    Contractor as Trade Secret data, pursuant to Minn. Stat.§ 13.37.

22. Performance Bond. We will secure a performance bond ("Bond") within ten (10) Business Days after
    execution of this Agreement for the fee set forth in the Investment Summary, which is payable according to
    the Invoicing and Payment Policy, payable to Anoka County as security for the faithful performance of this
    Agreement. The bond shall be issued by an agency authorized to do business in the State of Minnesota with
    a rating of "A" or higher. The Bond will have an initial term of twenty-four (24) months. In the event that



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      you desire to renew or extend the term of the performance bond, you shall be responsible for any additional
      bond premiums and any renewal thereof shall be subject to underwriting or surety approval.

23. Multiple Originals and Signatures. This Agreement may be executed in multiple originals, any of which will
    be Independently treated as an original document. Any electronic, faxed, scanned, photocopied, or similarly
    reproduced signature on this Agreement or any amendment hereto will be deemed an original signature
    and will be fully enforceable as if an original signature.


24. Cooperative Procurement. To the maximum extent permitted by applicable law, we agree that this Agreement,
    in conjunction with the Saas Agreement, may be used as a cooperative procurement vehicle by eligible
    jurisdictions. We reserve the right to negotiate and customize the terms and conditions set forth herein,
    including but not limited to pricing, to the scope and circumstances of that cooperative procurement. Any
    other jurisdiction utilizing this Agreement will place its own orders directly with us and shall be required to
      execute a separate contract with us.
25. Insurance. Tyler shall procure and maintain In full force and effect during the term of this Agreement
    insurance coverage for injuries to persons or damages to property which may arise from or in connection
    with the performance of the work hereunder by the Tyler, Its agents, representatives, or employees. The
    insurance coverage shall satisfy the requirements set forth in Exhibit E, which is attached hereto and
    incorporated herein. Subcontractors performing services for Tyler shall maintain insurance coverage as
      required in Exhibit E.

26.       REMOTE ACCESS TO COUNTY SYSTEM

      · 26.1 Prohibited Conduct. Vendor personnel, without written approval through the County IT Help Desk or
contract provisions/statement of work, shall not:

      a. Connect to the County network
      b. Load software onto any County computer
      c. Install or use any type of encryption device or software on any County hardware
      d. Attach any device to the County non-public network
      e. Remove or delete any computer software
      f. Remove any County computer hardware from a County building
      g. Attach any network or phone cables to any County device
      h. Intercept or monitor network traffic by any means, including the use of network sniffers
      i. Install any device or software to enable remote access to any part of the Anoka County Network.
         Remote access will only be granted via the County's official two-factor remote access solution.

    26.2 Technology Usage Agreement. Through the review and assessment of the County's Systems, Tyler
may be exposed to County data and/or data on Individuals or organizations which are confidential In nature.
In addition, Tyler may be exposed to confidential Information relating to the County's computers, network,
and programs. Hereinafter, this data and Information Is collectively referred to as "County Information." IN
RECOGNITION OF THE NEED TO PROTECT THE COUNTY INFORMATION, TYLER COVENANTS AND AGREES THAT
IT SHALL REGARD AND TREAT EACH ITEM OF COUNTY INFORMATION AS A TRADE SECRET AND/OR
CONFIDENTIAL INFORMATION AND THAT IT WILL NOT, WITHOUT THE EXPRESS WRITTEN CONSENT OF THE
COUNTY OR EXCEPT AS REQUIRED BY LAW, REDISTRIBUTE, MARKET, PUBLISH, DISCLOSE OR DIVULGE TO ANY
OTHER PERSON, FIRM, OR ENTITY, OR USE OR MODIFY FOR USE, DIRECTLY OR INDIRECTLY, IN ANY WAY, FOR




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ANY PERSON OR ENTITY, ANY OF THE COUNTY INFORMATION. ACCORDINGLY, TYLER SHALL BE REQUIRED TO
EXECUTE THE COUNTY'S INFORMATION TECHNOLOGY USAGE AGREEMENT AS SET FORTH IN EXHIBIT D,
WHICH IS ATTACHED HERETO AND INCORPORATED HEREIN. The Technology Usage Agreement will be audited
annually to ensure only those that need access to County data/systems are granted access. For at least the
past ten (10) years, all of Tyler's employees have undergone criminal background checks prior to hire. All Tyler
employees sign Tyler's confidentiality agreement and security policies. At the termination of this Agreement,
Tyler shall return to the County all County Information. UNAUTHORIZED USE OF THE COUNTY'S DATA MAY
BE A CRIMINAL OFFENSE AND VIOLATORS WILL BE PROSECUTED.

27.    State Tax Laws.

        The County shall not make final payment until the Contractor has made satisfactory showing that It has
complied with the provisions of Minn. Stat. § 290.92 requiring the withholding of state income tax from wages
paid to the Contractor's employees and to employees of any subcontractors hired by the Contractor for work
performed under this Agreement. The Contractor will provide the County with a letter stating the requirements
have been met.


28.     Contract Documents. This Agreement includes the following exhibits:

        Exhibit A        Investment Summary
        Exhibit B        Invoicing and Payment Policy
        Exhibit C        Phase 1 Final Report
        Exhibit D        Anoka County Information Technology Usage Agreement
        Exhibit E        Anoka County Insurance Requirements
        Exhibit F        Acceptance Form
        Exhibit G        Change Order Form
        Exhibit H        Saas Agreement



                                         [Signatures on following page]




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IN WITNESS WHEREOF, a duly authorized representative of each party has executed this Agreement as of the
date{s) set forth below,

Tyler Technologies, Inc.




        gdlc,
                                                      .2..
once.    f@by       a2.                               Name: Rhonda Siyarajah

me.      (Chef l«gal_         lg                      Title: Chair, Anoka County Board of Commissioners

ate:.        2lA .[2o17                                • 2-23/7

                                                      4-
                                                      Name: Jerry Soma

                                                      Title: County Administrator

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Address for Notices:                                  Address for Notices:
   Tyler Technologies, Inc.                                  Anoka County, Minnesota
   One Tyler Way                                             Jonell M. Sawyer
   Moraine, OH 45439                                         Division Mgr.-Property Records and Taxation
   Attention: Gus Tenhundfeld                                2100 Third Avenue
              Inside Sales Manager                           Anoka, Minnesota 55303




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                                                                                                             EXHIBIT A




                                                          tyler
                                             Investment Summary


The following Investment Summary details the services to be delivered by us to you under the
Agreement. This Investment Summary is effective as of the Effective Date. Capitalized terms not
otherwise defined will have the meaning assigned to such terms in the Agreement.

This Agreement covers the professional services described in the Statement of Work at a fixed cost of
Three Million Two Hundred Seventy Thousand Four Hundred and Fifteen Dollars ($3,270,415). The
following table describes the implementation, training, data conversion and other professional services
included in this Agreement.




                                                Selectron                            Eagle               Combined
                                  iasWorld                      Cashiering
 Services - Phase 2                                 IVR                            Recorder              Project
 Delivery, Installation, &
 Configuration                $1,445,740                        $78,125          $88,520                 $1,612.385
 Software
 Modifications/Development    $428,850                                                                   $428,850
                                                                                     ·-
 Project Management           $347,795                          $13,475          $8,400                  $369,670

 Interface development        .                                                                          -

 Data Migration/Conversion    $562,535                                            $37,660                $600,195

 Documentation                $14,210                                                                    $14,210

 Training                      $56,835                          $16,750           $14,280                $87,865

 Other: Performance bond       $54,745                                                                   $54,745
                                                 $102,495                                                 $102,495




 SUB-TOTAL PHASE 2                              .
 SERVICES                      $2,910,710       $102,495        $108,350          $148,860               $3,270,415


 TOTAL PHASE 2 SERVICES        $3,270,415




Confidential
                                                            Empowering people who serve the public"   ·•~:'cxHr•
                                                                                                             °'0 tvl er
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                                                                                                   EXHIBIT B




                                            Invoicing and Payment Policy

Tyler Technologies, Inc. will provide you with the services set forth in the Investment Summary and
Statement of Work of your Phase 2 Services Agreement. Capitalized terms not otherwise defined will
have the meaning assigned to such terms in your Phase 2 Services Agreement.




Invoicing: The Services described in the Investment Summary are billed and invoiced according to the
payment milestone schedule as set forth below. Your rights to dispute any invoice are set forth in your
Services Agreement.


 Initiate and Plan Stage                                                   % of contract   Fee per milestone


 Contract signing                                                                  2.5%    $        79,198.00
 Phase 2 project schedule accepted                                                 5.0%    $       158,396.00
 Implementation management plan accepted                                           5.0%    $       158,396.00



 Control Point 1: Initiate and Plan Stage Complete Stage total                    12.5%    $       395,990.00



 Assess and Define Stage



 Initial conversion data mapping acceoted                                         10.0%    $       316,792.00
 Final scope accepted                                                              2.5%    $        79,198.00
 Saas environment site access                                                      2.5%    $        79,198.00



 Control Point 2: Assess and Define Stage Complete Stage total                    15.0%    $       475,188.00



 Build and Validate Stage


 Pre-release build 1 accepted (approx.. Delivery date 2017O2)                     10.0%    $       316,792.00
 Onsite training for County core users completed                                   5.0%    $        158,396.00
 First conversion iteration accepted                                              10.0%    $       316,792.00
 Pre-release build 2 accepted (Date TBD)                                          10.0%    $       316,792.00
 Pre-release build 3 accepted (Date TBD)                                          10.0%    $       316,792.00



 Control Point 3: Build and Validate Stage Complete Stage total                   45.0%    $      1,425,564.00



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                                                                                                 EXHIBIT B




Final Testing and Trainlng Stage


lasWorld/Eagle Recorder/Tyler Cashlering integration functioning - accepted      5.0%    $      158,396.00

User acceptance testing (UAT) completed without crltlcal or high defects (per
support call process exhlblt In SaaS Contract)                                   5.0%    $      158,396.00


Control Point 4: FinaI Training and Testing Stage Complete Stage total          10.0%    $      316,792.00



Production Cutover Stage


FInal conversion accepted                                                        2.5%    $          79,198.00
Production cut-over                                                              5.0%    $      158,396.00


Control Point S: Production Cutover Stage Complete Stage total                   7.5%    $      237,594.00



Phase/Project Closure Stage


Final acceptance without critical or high defects (per support call process
exhibit in SaaS Contract)                                                        10.0%   $      316,792.00


Control Polnt 6: Phase/Project Closure Stage Complete Stage total                10.0%   $       316,792.00




Tyler Technologles Phase 2 Services TOTAL                                       100.0%   $     3,167,920.00


Selectron IVR
 Contract Executlon                                                               25%    $25,623.75
 Completion of svstem Installation In data center                                 50%    $51,247.50
 30 days following completion of system installatlon In data center               20%    $20,499.00
 Final acceptance                                                                  5%    $5,124.75


 Selectron IVR Phase 2 Services TOTAL                                                    $102,495




TOTAL PHASE 2 SERVICES                                                                   $3,270,415



Phase 2 Services payment milestones are invoiced as delivered to and accepted by the Client as described
in Section C(1) of the Agreement. As each payment milestone is completed, Tyler will submit its invoice
for such milestone for review and approval by the Client and Client shall either pay such invoice within
thirty (30) days of receipt or provide us with written notice of rejection. Acceptance of a payment



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                                                                                                 EXHIBIT B


milestone shall not be unreasonably withheld. If an invoice for a payment milestone is rejected, Client
must provide us written notice of the reason(s) for such rejection. If the Client fails to pay an invoice or
provide written notice of the reasons for rejection within thirty (30) days of the invoice date, the payment
milestone shall be deemed to be approved.

Payment. Payment for undisputed invoices is due within thirty (30) days of the Invoice date.

We prefer to receive payments electronically. Our electronic payment information is:

                Bank:           Wells Fargo Bank, N.A.
                                420 Montgomery
                                San Francisco, CA 94104
                ABA:            121000248
                Account:        4124302472
                Beneficiary: Tyler Technologies, Inc. - Operating Account




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                            Tyler Technologies Statement of Work
The following Phase 1 Final Report details the services to be delivered by Tyler Technologies, Inc. to the
Client under this Phase 2 Services Agreement. This Statement of Work is effective as of the Effective Date.
Capitalized terms not otherwise defined will have the meaning assigned to such terms in your Phase 2
Services Agreement.



                            (ANOKA PHASE l FINAL REPORT ATTACHED AS EXHIBIT C]




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Statement of Work
Enterprise Group, Tyler Technologies




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1     EXECUTIVE SUMMARY

1.1       Project Qyeryiew

The Statement of Work (SOW) documents the Project Scope, methodology, roles and responsibilities,
Implementation Stages, and Deliverables for the Implementation of Tyler products.
The Project goals are to offer Anoka County, MN (County) the opportunity to make the County more
accessible and responsive to external and internal customer needs and more efficient in its operations
through:
      •     streamlining, automating, and integrating business processes and practices
      •     providing tools to produce and access information in a real-time environment
      •     enabllng and empowering users to become more efficient, productive and responsive
      •     successfully overcoming current challenges and meeting future goals

1.2       Product Summary

Below, is a summary of the products Included in this Project, as well as reference to the County's
functional area utilizing the Tyler product. Refer to Scope of Services section for Information containing
detailed product components.


[PRODUCT FAMILY)          (FUNCTIONAL AREA)
lasWorid                  CAMA - Appraisal and Assessment, Tax Billing, Collections, Distribution, Settlement, Delinquent
                          tax, Personal Property, Manufactured Homes, Public Access and Fleld Mobile, Document Manager
Tyler Cashiering          Cashiering and Recelptlng
Eagle Recorder            Land Records Management, eCommerce (subscription service), eMarriage/eFor s including
                          Marrlage, Birth/Death, Ordinations, Abstract and Torrens recording and indexing (including Torrens
                          certificate creation), OCR {with automated Indexing and redaction), and eRecording
Selectron (3"" party)     Integrated Voice Response system




1.3       Project Timeline

The Project Timeline establishes a start and end date for each Phase of the Project. Developed during the
Initiate & Plan Stage and revised as mutually agreed to, if needed, the timeline accounts for resource
availability, business goals, size and complexity of the Project, and task duration requirements.

1.4       Project Methodology Overview

Tyler bases Its Implementation Methodology on the Project Management Institute's (PMI) Process
Groups (Initiating, Planning, Executing, Monitoring & Controlling, and Closing). Using this model, Tyler
developed a 6-Stage Process specifically designed to focus on critical Project success measurement
factors.




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Tailored specifically for Tyler's Public Sector clients, the Project methodology contains Stage acceptance
Control Points throughout each Phase to ensure adherence to Scope, budget, timeline controls, effective
communications, and quality standards. Clearly defined, the Project methodology repeats consistently
across Phases, and is scaled to meet the County's complexity, and organizational needs.



2     PROJECT GOVERNANCE
The purpose of this section Is to define the resources required to adequately establish the business
needs, objectives, and priorities for the Project; communicate the goals to other Project participants; and
provide support and guidance to accomplish these goals. Project Governance also defines the structure
for issue escalation and resolution, Change Control review and authority, and Organizational Change
Management activities.
The preliminary governance structure establishes a clear escalation path when issues and risks require
escalation above the Project Manager level. Further refinement of the governance structure, related
processes, and specific roles and responsibilities occurs during the Initiate & Plan Stage.
The path below illustrates an overall team perspective where Tyler and the County collaborate to resolve
Project challenges according to defined escalation paths. In the event Project Managers do not possess
authority to determine a solution, resolve an Issue, or mitigate a risk, Tyler Implementation Management
and the County Steering Committee become the escalation points to triage responses prior to escalation
to the County and Tyler Executive Sponsors. As part of the escalation process, each Project Governance
tier presents recommendations and supporting information to facilitate knowledge transfer and Issue
resolution. The County and Tyler Executive Sponsors serve as the final escalation point.

2.1        Client Governance

 Depending on the County's organizational structure and size, the following governance roles may be
 filled by one or more people:

 2.1.1      Client Project AlanaRer

 The County's Project Manager(s) coordinate county Project team members, subject matter experts, and
 the overall implementation schedule and serves as the primary point of contact with Tyler. The County
 Project Manager(s) will be responsible for reporting to the County Steering Committee and determining
 appropriate escalation points.

 2.1.2      Steering Committee

 The County Steering Committee understands and supports the cultural change necessary for the Project
 and fosters an appreciation of the Project's value throughout the organization. Oversees the County
 Project Manager(s) and the Project as a whole and through participation in regular Internal meetings, the




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  County Steering Committee remains updated on all Project progress, Project decisions, and achievement
. of Project milestones. The County Steering Committee also provides support to the County Project
  Manager(s) by communicating the importance of the Project to all impacted departments. The County
  Steering Committee is responsible for ensuring the Project has appropriate resources, provides strategic
  direction to the Project team, for making timely decisions on critical Project issues or policy decisions.
  The County Steering Committee also serves as primary level of issue resolution for the Project.

 2.1.3     Ex@cut]ye Sponsor(s]

 The County's Executive Sponsor provides support to the Project by allocating resources, providing
 strategic direction, and communicating key issues about the Project and the Project's overall Importance
 to the organization. When called upon, the Executive Sponsor also acts as the final authority on all
 escalated Project Issues. The Executive Sponsor engages In the Project, as needed, In order to provide
 necessary support, oversight, guidance, and escalation, but does not participate in day-to-day Project
 activities. The Executive Sponsor empowers the County Steering Committee, Project Manager(s), and
 Functional Leads to make critical business decisions for the County.

 2.2     Tyler Governance

 2.2.1    Tyler Pro]ect Manager

 The Tyler Project Manager(s) have direct involvement with the Project and coordinates Tyler Project
 team members, subject matter experts, the overall implementation schedule, and serves as the primary
 point of contact with the County. If requested, the Tyler Project Manager(s) provide regular updates to
 the County's Steering Committee and other Tyler Governance members.

 2.2.2    Tyler Implementation Management

 Tyler Implementation Management has indirect Involvement with the Project and is part of the Tyler
 escalation process. Tyler Project Manager(s) consult Implementation Management on issues and
 outstanding decisions critical to the Project. Implementation Management works toward a solution with
 the Tyler Project Manager(s) or with the County Management, as appropriate. Tyler Executive
 Management is the escalation point for any issues not resolved at this level. The name(s) and contact
 information for this resource will be provided and available to the Project team.

 2.2.3    Tyler Executiye Management

Tyler Executive Management has indirect Involvement with the Project and Is part of the Tyler escalation
process. This team member offers additional support to the Project team and collaborates with other
Tyler department managers, as needed, in order to escalate and facilitate implementation Project tasks
and decisions. The name(s) and contact information for this resource will be provided and available to
the Project team.

2.3      Acceptance Process

The following process will be used for accepting Deliverables and Control Points:




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      •       The County shall have ten (10) business days from the date of delivery, or as otherwise mutually
              agreed upon reasonable timeframe by the parties In writing, to accept or reject each Deliverable
              or Control Point. If the County feels they need more time for review, Tyler must receive notice of
              this in writing.
      •       Tyler shall address any deficiencies and redeliver the Deliverable or Control Point within 10
              business days of receipt of rejection. The County shall then have five (5) business days from
              receipt of the redelivered Deliverable or Control Point to accept or again submit written
              notification of reasons for rejecting the milestone. This acceptance process Is followed for all
              Deliverables and Control Points throughout the Project.




3         OVERALL PROJECT ASSUMPTIONS

3.1           Project, Resources and Scheduling

      •        Project activities will begin after the Agreement has been fully executed.
      •        It Is to be understood that the project plan/schedule for phase 2, that has been delivered as part
               of phase 1, Is a schedule of needed tasks to complete the Implementation, but that Tyler will work
               with the County to solidify the dates of those tasks and agree to the final project plan/schedule
               during phase 2. The Training and Test Plans, as part of the Final Report in Phase 1, are also Included
               in this assumption.
      •        The County and Tyler have the ability to allocate additional Internal resources If needed. The
               County also ensures the alignment of their budget and Scope expectations. The County has two
               desirable windows of opportunity for production cutover. Those are in the months of July and
               December.
          •    The County and Tyler ensure that the assigned resources are available, they buy-into the change
               process, and they possess the required business knowledge to complete their assigned tasks
               successfully. Should there be a change In resources, the replacement resource should have a
               comparable level of availability, buy-in, and knowledge.
          •    Tyler and the County provide adequate resources to support the efforts to complete the Project as
               scheduled and within the constraints of the Project budget.
          •    Abbreviated timelines and overlapped Phases can result In Project delays If there are not sufficient
               resources assigned to complete all required work as scheduled.
          •    Changes to the Scope of the project may result in additional charges to the Project. Any change
               affecting scope, that would result in additional charges, will need to go through the change order
                process.
          •     Tyler provides a written agenda and notice of any prerequisites to the County Project Manager(s)
                ten (10) business days prior to any scheduled onsite or remote sessions.
          •     Tyler provides notice of any prerequisites to the County Project Manager(s) a minimum of ten (10)
                business days prior to any key Deliverable due dates.
          •     The County users complete prerequisites prior to applicable scheduled activities.
          •     Tyler provides options for configuration and processing options available within the Tyler software.
                The County is responsible for making decisions based on the options available.




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      •    In the event the County may elect to add and/or modify current business policies during the course
           of this Project, such policy changes are solely the County's responsibility to define, document, and
           implement.
      •    The County makes timely Project related decisions in order to achieve scheduled due dates on
           tasks and prepare for subsequent training sessions. Decisions left unmade may affect the Project
           schedule, as each analysis and implementation session builds on the decisions made In prior
           sessions.
      •    Tyler considers additional services, items that are discovered after contract signing and beyond the
           deliverables laid out in the contracted SOW, to be out of Scope and would require additional hours,
           to be requested via a change request, approved through the Change Control process.
      •    The County will respond to information requests in a reasonable and timely manner, in accordance
           with the Project schedule.

3.2       Data Conversion

      •    The County is readily able to produce the data files, along with meaningful current file layouts and
           field definitions, needed for conversion from the Legacy System in order to provide them to Tyler
           on the mutually agreeable due date(s).
      •    Each Legacy System data file submitted for conversion includes all associated records in a single
           approved file layout.
      •    If the County choses to use an Interim database as It's data source, so as to preserve proprietary
           information from legacy systems vendor, it's the responsibility of the County to ensure no data is
           omitted from original data source when delivered to Tyler.
      •    The County understands the Legacy System data file must be in the same format each time unless
           changes are mutually agreed upon in advance. If not, negative impacts to the schedule, budget,
           and resource availability may occur and/or data in the new system may be incorrect.
      •    During this process, the County may need to correct data scenarios in their Legacy System prior to
           the final data pull. This is a complex activity and requires due diligence by the County to ensure all
           data pulled includes all required data and the Tyler system contains properly mapped data.
           Approach to data clean up will be mutually agreed upon based on scenarios encountered.
      •    Tyler will work with the data source(s) provided, writing code to put them into the required format
           to convert into Tyler software.
      •    Tyler will run programmatic checks to check for data issues, manually verify data converted and
           compare record and image counts to ensure confidence in a complete conversion prior to
           providing it to the county for review. Exception reports will be provided back to the County.
      •    The County is responsible for reviewing the converted data and images in an agreed upon
           tlmeframe and reporting Issues to Tyler in writing.
      •    Tyler will provide responses to these issues, whether they are explanations or fixes to the
           conversion prior to the final cut over.

3.3       Data Exchanges, Customizations, Forms and Reports

      •    The County ensures the 3rd party data received is in the correct format.
               o   3" party meaning any non-Tyler software package that has an integration with iasWorld




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                       •   I.e. static file Imports, live API interaction, web services, etc.
      •   The 3rd party possesses the knowledge of how to program their portion of the integration and
          understands how to manipulate the data received.
      •   Client is on a supported, compatible version of the 3"" party software or Tyler Standard Data
          Exchange tools may not be available.
      •   The County is willing to make reasonable business process changes rather than expecting the
          product to conform to every aspect of their current system/process.
      •   Any Customization requests not expressly stated in the contract are out of Scope. Customizations
          requested after contract signing have the potential to change cost, Scope, schedule, and
          production dates for Project Phases. Customization requests not in Scope must follow the Project
          Change Request process.

3.4       Hardware and Software

      •    Tyler will initially install the most current generally available version of the purchased Tyler
           software. Software initially installed should be a version that has been In use in Production by
           another customer for a minimum of 3 months prior to installation for use by the County.
      •    If Eagle Recording Is on premise, the County will provide network access for Tyler modules,
           printers, and Internet access to all applicable County and Tyler Project staff.
      •    The County has in place all hardware, software, and technical infrastructure necessary to support
           the Project.
      •    If Eagle Recording Is on premise, the County's system hardware and software meet Tyler standards
           to ensure sufficient speed and operability of Tyler software. Tyler will not support use of software
           if the County does not meet minim uni standards of Tyler's published specifications. (For non-Saas
           installations.)

3.5       Education

      •    During live and onslte training, the County provides a training room for Tyler staff to transfer
           knowledge to the County resources, as well as a place for the County staff to practice what they
           have learned without distraction. If Phases overlap, the County will provide multiple training
           facilities to allow for Independent sessions scheduling without conflict.
      •    The training room Is set up In a classroom setting. The County determines the number of
           workstations in the room. Tyler recommends every person attending a scheduled session, with a
           Tyler Consultant or Trainer, have their own workstation. However, Tyler requires there be no more
           than two people at a given workstation.
               o   Anoka County maintains a shared 15 seat training lab. This is the only training facility
                   available for this project. Use of the training lab will require 4 weeks advance notification
                   In order to secure time slots and work with other departments that may need to use the
                   room as well.
      •    The County provides a workstation which connects to the Tyler system for the Tyler trainer
           conducting the session. The computer connects to the County provided projector, allowing all
           attendees the ability to actively engage in the training session.




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      •    The County testing database contains the Tyler software version required for delivery of the
           Customization prior to the scheduled delivery date for testing.
      •    The County Is responsible for verifying the performance of the Customization as defined by the
           specification.
      •    Users performing User Acceptance Testing (UAT) have attended all applicable training sessions
           prior to performing UAT.

4     IMPLEMENTATION STAGES

4.1       Work Breakdown Structure [ABS)

The Work Breakdown Structure (WBS) is a hierarchical representation of a Project or Phase broken down
into smaller, more manageable components. The top level components are called "Stages" and the
second level components are called "work packages." The work packages, shown below each Stage,
contain the high-level work to be done. The detailed Project Plan, developed during Initiate & Plan and
finalized during Assess & Define, will list the tasks to be completed within each work package. Each Stage
ends with a "Control Point", confirming the work performed during that Stage of the Project.




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4.2     Initiate& Plan [Stage 1]
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The Initiate & Plan Stage creates a foundation for the Project through identification of the County and Tyler Project management teams,                                                                     r
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development of implementation management plans, and the provision and discussion of system infrastructure requirements. The County                                                                          uI
participation in gathering information is critical. Tyler Project management teams present initial plans to stakeholder teams at Stage end.

4.2.1    Tyler Internal Coordination & Planning

Prior to Project commencement, Tyler management staff assigns Project Manager(s). Tyler provides the County with initial Project documents
used In gathering basic information, which aids in preliminary planning and scheduling. The County participation in gathering requested
information, by provided deadlines, ensures the Project moves forward in a timely fashion. Internally, the Tyler Project Manager(s) coordinate
with Sales to ensure transfer of vital Information from the sales process prior to scheduling a Project Planning Meeting with the County's team.
During this step, Tyler will work with the County to establish the date(s) for the Project/Phase Planning session.


RACI MATRIX KEY: R = Responsible A= Accountable C= Consulted I= Informed
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 Assign Tyler Project Manager
 Provide initial Project documents to Client   A[3/:'
 Sales to Implementation knowledge transfer    #Ff;

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Make hardware available for Installation                                           I                                     C                         .. A                                        R
Install system hardware, if applicable                        ;: .                 I                                     C            ±            A                         ~                        R
Complete system infrastructure audit                                               I                                     c                             A                                              R



4.2.3   Project/Phase Planning


Project and Phase planning provides an opportunity to review the contract, software, data conversions and services purchased, identify
Applications to implement in each Phase (if applicable), and discuss implementation timeframes. The Tyler Project Manager(s) deliver an
Implementation Management Plan, which is mutually agreeable by the County and Tyler.
RAC! MATRIX KEY: R = Responsible A= Accountable C = Consulted I= Informed




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Deliver implementation management plan                         A       R                                                                                 c             c·       I       ·
4.2.4    Project Schedule

The County and Tyler will mutually develop an initial Project schedule. The initial schedule includes, at minimum, enough detail to begin Project
activities while the detailed Project Plan/schedule is being developed and refined.
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Develop initial Project schedule
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Deliver Project Plan and schedule for Project Phase                            A            R        I                                                     I        I            c         c I            I          I               i




Client reviews Project Plan & initial schedule                                              C                                                              I       A             R         C      C                  C
Client approves Project Plan & initial schedule                                             I                                                              I       A             R         C      C       I          I                          I        I             I



4.2.5          Stakeholder Presentation

The County stakeholders join Tyler Project Management to communicate successful Project criteria, Project goals, Deliverables, a high-level
milestone schedule, and roles and responsibilities of Project participants.
RACI MATRIX KEY: R = Responsible A= Accountable C= Consulted I= Informed




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Present overview of Project Deliverables, project              A         R              I                                              I      I    I     C       I            I         I           I                     I         I     I
schedule and roles and responsibilities
Communicate successful Project criteria and goals                        I                                                                   R     C     A      C              I        I           C         I           I




4.2.6     Control Point 1: Initiate & Plan Stage Acceptance

Acceptance criteria for this Stage includes completion of all criteria listed below. Advancement to the Assess & Define Stage is dependent upon
Tyler's receipt of the Stage Acceptance.
4.2.6.1       Initiate & Plan Stage Deliverables

    •     Implementation Management Plan
          •     Objective: Update and deliver baseline management plans to reflect the approach to the County's Project.
                Scope: The Implementation Management addresses how communication, quality control, risks/issues, resources and schedules, and
                Software Upgrades (if applicable) will be managed throughout the lifecycle of the Project.
                Acceptance criteria: The County reviews and acknowledges Implementation Management Plan

    •     Project Plan/Schedule



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                  •     Objective: Provide a comprehensive list of tasks, timelines and assignments related to the Deliverables ofthe Project.
                        Scope: Task list, assignments and due dates

                        Acceptance criteria: The County acceptance of schedule based on the County resource availability and Project budget and goals.


     4.2.6.2          Initiate & Plan Stage Acceptance Criteria

             •     Hardware Installed

             •     System infrastructure audit complete and verified

             •     Implementation Management Plan delivered

             •     Project Plan/Schedule delivered; dates confirmed

             •     Stakeholder Presentation complete

     4.3         Assess &_ Define (Stage 2]

     The primary objective ofAssess & Define is to gather Information about current County business processes and translate the material Into future
     business processes using Tyler Applications. Tyler uses a variety of methods for obtaining the information, all requiring County collaboration.
     The County shall provide complete and accurate information to Tyler staff for analysis and understanding ofcurrent workflows and business
     processes.

     4.3.1        Fundamentals Rgyley(Completed during Phase1}

     Fundamentals Review provides functional leads and Power Users an overall understanding of software capabllltles prior to beginning current
     and future state analysis. The primary goal is to provide a basic understanding of system functionality, which provides a foundation for
     upcoming conversations regarding future state processing. Tyler utilizes a variety of methods for completing fundamentals training Including the
     use of elearning, videos, documentation, and walkthroughs.



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Schedule fundamentals review & provide
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fundamentals materials & prerequisites, if                                A         R               I                                       #%4F                   c         I              I                                   1
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Complete fundamentals materials review and                                                                                                                         A        R              I                                    C
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prerequisites
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Ensure all scheduled attendees are present                                              I            I

Facilitate fundamentals review                                                      A               R                                                                   I    I               I




4.3.2      Current/Future State Analysis [Completed during Phase 1]

The County and Tyler evaluate current state processes, options within the new software, pros and cons of each option based on current or
desired state, and make decisions about future state configuration and processing.
RACI MATRIX KEY: R = Responsible A= Accountable C= Consulted I= Informed




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Provide Current/Future State analysis materials to
the County, as applicable
Conduct Current & Future State analysis
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Provide pros and cons of Tyler software options                  A·•.·--1-R
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 Make Future State Decisions according to due date In L.
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Record Future State decisions
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4.3.3   Data Conversion Planning & Mapping

This entails the activities performed to prepare to convert data from the County's Legacy System Applications to the Tyler system. Tyler staff
and the County work together to complete Data Mapping for each piece of data (as outlined in the Agreement) from the Legacy System to a
location in the Tyler system. Tyler Implementaion Consultants (ICs) wlll complete a data conversion analysis. During the analysis, current data
systems will be reviewed and the IC's wlll determine, with County staff, a plan for data conversion. The plan will include:
    •    Scope of data conversion
    •    Level of detail covered
    •    Historical data converted
    •    Identification of current data sources



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    •     Strategy for data conversion
lf gaps are identified in Tyelr's systems that prevent the County from converting crltltcal legacy data, Tyelr will work with the County in good
faith to Identify alternative solutions that meet the County's ujnderlying functional requrlements. The resulting alternative solution, including
potential costs and timelines, shall be detailed in the Data Conversion Plan (DED-3).
Please refer to DED-3 Conversion Plan dellyerable for details on data conyersin.
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Review contracted data conversion(s) options
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Identify current data to be converted                       1/A]1
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Make decisions on data conversion plans                    [A]c]1                          TT eTV#l[a]LIe[_l-
 Provide recommendations for data conversion         E]+ER].c                             EE.fa@E]cE_]_.:]c.]]
 Map data from Legacy System to Tyler system       :{r/c]+[                          TEE[@fc[-]c]]__[[__E_
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Data Conversion Planning & Mapping Open Items                                                                                                           --
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    1.   Historical receipt information will not be converted to Eagle Recorder. The County will need the ability to process refunds against             ::c
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         historical receipts after production cutover. The best process to handle this will be determined in Phase 2.                                   uI

4.3.4    Standard3rd Party Data Exchange [integration/interface] Planning

Standard Data Exchange tools are available to allow clients to get data in and out of the Tyler system with external systems. Data exchange tools
can take the form of Imports and Exports, and Interfaces.

A Standard Interface is a real-time or automated exchange of data between two systems. This could be done programmatically or through an
API. It is Tyler's responsibility to ensure the Tyler programs operate correctly. It is the County's responsibility to ensure the third party program
operates or accesses the data correctly.

The County and Tyler Project Manager(s) will work together to define/confirm which Data Exchanges are needed (if not outlined in the
Agreement). Tyler will provide a file layout for each Standard Data Exchange.

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Review Standard or contracted Data Exchan
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Define or confirm needed Data Exchanges                 ·LL.kc'


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4.3.5    Customlzatlon Analysis Speciflcatlgn, if contracted

Tyler staff conducts additional analysis and develops specifications based on information discovered during Phase 1. The County reviews the
specifications and confirms they meet the County's needs prior to acceptance. Out of Scope items or changes to specifications after acceptance
may require a Change Request.
Tyler's intention is to minimize Customizations by using Standard functionality within the Application, which may require a County business
process change. It is the responsibility of the County to detail all of their needs during the Assess and Define Stage. Tyler will write up
specifications (for the County approval) for contracted program Customizations (BRDs). Upon approval, Tyler will make the agreed upon
Customizations to the respective program(s). Once the Customizations have been delivered, the County will test and approve those changes
during the Build and Validate Stage.
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 Analyze contracted custom program requirements
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 Develop specification document(s)                                             .E.ICE@ErErEEAL±E_[aL_
 Review specification document(s); provide changes
 to Tyler, if appl icable
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Sign-off on specification document(s) and authorize
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4.3.6   Forms & Reports Planning (Completed during Phase 1)

The County and Tyler Project Manager(s) review Forms and Reporting needs. Items that may be included in the Agreement are either Standard
Forms and Reports or known/included Customization(s). Items not included in the Agreement could be either County developed Reports or a
newly discovered Customization that will require a Change Request.
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Review required Forms/Reports output                  A]R
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Review and complete Forms options and submit to
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Review in Scope Reports                                      AIR                                                             1IC
Identify additional Report needs                             I IC                                                            A [R                   1c
Add applicable tasks to Project schedule                   AIRII                      C                             I        cl                      1 I          I        {1




4.3.7    System Deployment (Saa_ deployment)

The Tyler Technical Services team installs Tyler Applications on the server and ensures the platform operates as expected.
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Install contracted software on server                                      A                        I                                              R                    ,I                                           '                                                C
Ensure platform operates as expected                                       A                        I                                              R               @.                         I                          [                   +l                       C




4.3.8            Control Point 2: Assess & Define Stage Acceptance

Acceptance criteria for this Stage includes completion of all criteria listed below. Advancement to the Build & Validate Stage is dependent upon
Tyler's receipt of the Stage Acceptance.

4.3.8.1              Assess_& Define Stage Deliyerables

        •       Completed analysis Questionnaire (System Design Document)

                 •        Objective: Gather and document information related to the County business processes for current/future state analysis as it relates
                          to Tyler approach/solution.

                 •        Scope: Provide comprehensive answers to all questions on Questionnaire(s).

                 •        Acceptance criteria: The County acceptance of completed Questionnaire based on thoroughness of capturing all the County business
                          practices to be achieved through Tyler solution.




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   •       Data conversion summary and specification documents

           •    Objective: Define data conversion approach and strategy
           •    Scope: Data conversion approach defined, data extract strategy, conversion and reconclllatlon strategy.
           •    Acceptance criteria: Data conversion document(s) delivered to the County, reflecting complete and accurate conversion decisions.

   •       Customization specification documents, if contracted (BRDs)
           •    Objective: Provide comprehensive outline of identified gaps, and how the custom program meets the County's needs

           •    Scope: Design solution for Customization
           •    Acceptance criteria: The County accepts Custom Specification Document(s) and agrees that the proposed solution meets their
                requirements

   •       Completed Forms options and/or packages
           •    Objective: Provide specifications for the County, in Scope form, Report and output requirements

           •    Scope: Complete Forms package(s) included In agreement and identify Reporting needs.

           •    Acceptance criteria: Identify Forms choices and receive supporting documentation

   •       Installation checklist
           •     Objective: Installation of purchased Tyler software
           •     Scope: Tyler will conduct an initial coordination call, perform an installation of the software Included in the Agreement, conduct a
                 follow up to ensure all tasks are complete, and complete server system administration training.
                     o   Tyler will provide documentation for Anoka County to utillze In order to setup SAML 2 using ADFS and will assist Anoka
                         County with the set up SAML 2 using ADFS as it pertains to iasWorld."
           •     Acceptance criteria: Tyler software is successfully installed and available to authorized users (using SAML 2 for iasWorld), the County
                 team members are trained on applicable system administration tasks.



4.3.8.2        Assess & Define Stage Acceptance Criteria

       •   Tyler software is installed




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      •    Proper connectivity has been established and authorized Anoka County Active Directory users are able to connect to Tyler's application
           servers.

      •    Fundamentals review is complete

      •    Required Form information complete and provided to Tyler

      •    Current/Future state analysis completed; Questionnaires delivered and reviewed

      •    Initial data conversion mapping and extractions completed and provided to Tyler, as mutually agreed upon by both parties.

4.4       Build & Validate (Stage 3]

The objective of the Bulld & Validate Stage is to prepare the software for use In accordance with the county's needs identified during the Assess
and Define Stage, preparing the County for Final Testing and Training.

4.4.1      Configuration g Poyer User Training

Tyler staff collaborates with the County to complete software configuration based on the outputs of the future state analysis performed during
the Assess and Define Stage. Tyler staff will train the County Power Users to prepare them for the Validation of the software. The County
collaborates with Tyler staff iteratively to Validate software configuration.

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Power User process and Validation training
Validate configuration                                                     I c                                                                                              A c                         R                         C          '-➔-




4.4.2    Data Conversion_& Validation

Tyler completes an initial review of the converted data for errors. With assistance from the County, the Tyler Data Conversion Team addresses
items within the conversion program to provide the most efficient data conversion possible. With guidance from Tyler, the County reviews
specific data elements within the system and identifies discrepancies, and reports in writing. Iteratively, Tyler collaborates with the County to
address conversion discrepancies prior to acceptance. Please_refertoDED-3Conversion Plan_deliverable_for_detailson_data_conversion.

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Complete initial review of data errors                                                                                       &e                     I              t                                              ¢
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Review data conversion and submit needed            a                                                                        [l:
corrections
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Revise conversion program(s) to correct error(s)              A      I    C       R                                                                 I               I                         c                            C



4.4.3   Standard 3rd Party Data Exchange Validation


Tyler provides training on Data Exchange(s) and the County tests each Data Exchange.

RACI MATRIX KEY: R = Responsible A= Accountable C = Consulted I= Informed




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Train Data Exchange(s) processing in Tyler software                        A      R                                                     3%.


Coordinate 3° Party Data Exchange activities                                I      I                                                            A            c            C                    R
Test all Standard 3" party Data Exchange(s)                                 I     C                                                             A            c       I    R                    C




4.4.4    Customization Deliyery & Validation,_if contracted

Tyler delivers in Scope Customization(s) to the County for preliminary testing. Final acceptance will occur during the Final Testing and Training
Stage.
RACI MATRIX KEY: R = Responsible A= Accountable C = Consulted I= Informed




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Test contracted custom program(s) in isolated database
Report discrepancies between specification and
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delivered contracted custom program(s)                                             I         I                       I                                          A         R                       c                 c
Make corrections to contracted custom program(s) as
required                                                                  A        I        C         I              R                                          I         C                       C                     I
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4.4.5     Forms& Reports Validation

Tyler provides training on Standard Forms/Reports and the County tests each Standard Form/Report.
RACI MATRIX KEY: R = Responsible A= Accountable C = Consulted I = Informed




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Standard Forms & Report Training
Test Standard Forms & Reports                                                         I    c                       c                            st±
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4.4.6       Control Point 3:Build_& Validate Stage Acceptance

Acceptance criteria for this Stage includes all criteria listed below. Advancement to the Final Testing & Training Stage is dependent upon Tyler's
receipt of the Stage Acceptance.



4.4.6.1         Build & Validate Stage Deliverables

        •       Initial data conversion

            •      Objective: Convert Legacy System data into Tyler system

            •      Scope: Data conversion program complete; deliver converted data for review

            •      Acceptance criteria: Initial error log available for review

        •       Data conversion verification document




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               •      Objective: Provide instructions to the County to verify converted data for accuracy

               •      Scope: Provide self-guided instructions to verify specific data components in Tyler system
               •      Acceptance criteria: The County accepts data conversion delivery; the County completes data Issues log

          •        Installation of Customizations on the County's server(s)

               •      Objective: Deliver Customization(s) in Tyler software

               •      Scope: Program for Customization Is complete and available in Tyler software, Customization testing

               •     Acceptance criteria: Delivery of Customization(s) results In objectives described in the County-signed specification.



      •         Standard Forms & Reports Delivered

               •      Objective: Provide Standard Forms & Reports for review

               •     Scope: Installation of all Standard Forms & Reports included In the Agreement

               •     Acceptance criteria: Standard Forms & Reports available in Tyler software for testing in Stage 4



4.4.6.2            Build &_ yalidate Stage AcceptanceCriteria

      •        Application configuration completed

      •        Standard Forms & Reports delivered and available for testing In Stage 4

      •        Data conversions (except final pass) delivered

      •        Standard 3" party Data Exchange training provided

      •        Customizations delivered and available for testing in Stage 4

      •        The County and Tyler have done a review of primary configuration areas to Validate completeness and readiness for testing and
               acceptance in Stage 4.



4.5           Final resting & Training (Stage4]



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During Final Testing and Training, Tyler and the County review the final Cutover plan. A critical Project success factor is the County
understanding the importance of Final Testing and Training and dedicating the resources required for testing and training efforts In order to
ensure a successful Production Cutover.

4.5.1    Cutoyer Planning

 The County and Tyler Project Manager(s) discuss final preparations and critical dates for Production Cutover. Tyler delivers a Production
 Cutover Checklist to outline Cutover tasks to help prepare the County for success.

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Cutover Planning Session                                                                 2%E£/cl
 Develop Production Cutover Checklist                                                    rf[eke:Ere]

4.5.2    User Acceptance resting UAT]

The County performs User Acceptance Testing to verify software readiness for day-to-day business processing. Tyler will assist the County In
creating a Test Plan for users to follow, to ensure proper Validation of the system.




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Deliver Test Plan for User Acceptance Testing
Perform User Acceptance Testing
Accept custom program(s), if applicable
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4.5.3   End User Training

End Users attend training sessions to learn how to utilize Tyler software. Training focuses primarily on day-to-day County processes that will be
delivered via group training, webinar, elearning and/or live training sessions.

Unless stated otherwise in the Agreement, Tyler provides one occurrence of each scheduled training or implementation topic with up to the
maximum number of users as defined in the Agreement, or as otherwise mutually agreed. Please reference the training plans that were
provided, for more detail. Please keep in mind, these plans are guidelines and that Tyler will work with the County to set up all necessary
training needed to be sure the installation is successful. The County users who attended the Tyler sessions may train any County users not able.
to attend the Tyler sessions or additional sessions may be contracted at the applicable rates for training.
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Conduct user training sessions                                          AIR                                                  c                                                                 1
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Conduct additional End User training sessions




4.5.4     Control Point 4; Final Testing & Training Stage Acceptance

Acceptance criteria for this Stage includes all criteria listed below. Advancement to the Production Cutover Stage is dependent upon Tyler's
receipt of the Stage Acceptance.
4.5.4.1       Final Testing & Training Stage Deliverables
    •     Production Cutover checklist
                    Objective: Provide a detailed checklist outlining tasks necessary for production Cutover
          •         Scope: Dates for final conversion, date(s) to cease system processing in Legacy System, date(s) for first processing in Tyler system,
                    contingency plan for processing
                    Acceptance criteria: Definition of all pre-production tasks, assignment of owners and establishment of due dates




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      •    User Acceptance Test Plan                                                                                                            --
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           •     Objective: Provide testing steps to guide users through testing business processes in Tyler software.                          ::c
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           •     Scope: Testing steps for Standard business processes.                                                                          I

           •     Acceptance criteria: Testing steps have been provided for Standard business processes.
4.5.4.2        Final resting & Training Stage AcceptanceCriteria

      •    Production Cutover Checklist delivered and reviewed

      •    Customization(s) tested and accepted, if applicable

      •    Standard 3"/ party Data Exchange programs tested and accepted

      •    Standard Forms & Reports tested and accepted

      •    User acceptance testing completed

      •    End User training completed

4.6       Production Cutoyer (Stage 5]

The County and Tyler resources complete tasks as outlined in the Production Cutover Plan and the County begins processing day-to-day business
transactions in the Tyler software. Following production Cutover, the County transitions to the Tyler support team for ongoing support of the
Application.

4.6.1      Final Data Conversion, if applicable

The County provides final data extract and Reports from the Legacy System for data conversion and Tyler executes final data conversion. The
County may need to manually enter into the Tyler system any data added to the Legacy System after final data extract.
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Provide final extract balancing Reports                                 1               I                                      " #¢                «   A c                               R]                               1
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Convert and deliver final pass of data
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Validate final pass of data
Load final conversion pass to Production environment                     I              R                                                      I           A           c         I      c                                     C




4.6.2    Production Processing &_Assistance

Tyler staff collaborates with the County during Production Cutover activities. The County transitions to Tyler software for day-to day business
processing.
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Develop Internal support plan
Conduct transfer to Support meeting                     A II IC                                               R
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4.6.4    Schedule Post-production Services, if applicable

Tyler provides post-production services if included in the Agreement. Prior to scheduling services, the Tyler Project Manager{s) collaborate with
the County Project Manager(s) to identify needs.
RAC! MATRIX KEY: R = Responsible A= Accountable C= Consulted I= Informed




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Identify topics for post-production services
Schedule services for post-production topics



4.6.5     Control_Point 5: Production Cutoyer Stage_Acceptance

Acceptance criteria for this Stage includes all criteria listed below. Advancement to the Phase/Project Closure Stage is dependent upon Tyler's
receipt of this Stage Acceptance.
4.6.5.1       Production_ Cutoyer Stage Deliverables

    •     Final data conversion, if applicable

          ■     Objective: Ensure {in Scope) Legacy System data is available in Tyler software in preparation for production processing.
          •     Scope: Final passes of all conversions completed in this Phase
          •     Acceptance criteria: Data is available in production environment

    •     Support transition documents

          •     Objective: Define strategy for on-going Tyler support



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           •     Scope: Define support strategy for day-to-day processing, conference call with the County Project Manager(s) and Tyler support
                 team, define roles and responsibilities, define methods for contacting support
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           •     Acceptance criteria: The County receives tools to contact support and understands proper support procedures.                     I

4.6.5.2        Production Cutover Stage Acceptance Criteria

      •    Final data converslon(s) delivered

      •    Processing is being done In Tyler production

      •    Transition to Tyler support is completed
      •    Post-live services have been scheduled, if applicable

4.7       Phase/Project Closure (Stage 6]

Project or Phase closure signifies full implementation of all products purchased and encompassed in the Phase or Project. The County moves
into the next cycle of their relationship with Tyler (next Phase of implementation or long-term relationship with Tyler Support).

4.7.1      Close Phase/Project

The County and Tyler Project Manager(s) review the list of outstanding Project activities and develop a plan to address them. The Tyler Project
Manager(s) review the Project budget and status of each contract Deliverable with the County Project Manager(s) prior to closing the Phase or
Project.
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Review outstanding Project activities and develop
action plan
Review Project budget and status of contract
Deliverables



4.7.2     Control Point 6: Phase/Project Closure Stage Acceptance

Acceptance criteria for this Stage includes all criteria listed below. This is the final acceptance for the Phase/Project.


4.7.2.1       Phase/Project Closure Stage Deliverables
    •     Phase/Project reconciliation report
          •     Objective: Provide comparison of contract Scope and Project budget
                Scope: Contract Scope versus actual, analysis of services provided and remaining budget, identify any necessary Change Requests or
                Project activity.
                Acceptance criteria: Acceptance of services and budget analysis and plan for changes, if needed.



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4.7.2.2    Phase/Project Closure Stage Acceptance Criteria
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    •     Outstanding Phase or Project activities have been documented and assigned

    •     Phase/final Project budget has been reconciled

    •     Tyler Deliverables for the Phase/Project are complete




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5        ROLES AND RESPONSIBILITIES

5.1.1      Tyler Roles and Responsibilities

Tyler assigns Project Managers prior to the start of each Phase of the Project. The Project Manager
assigns other Tyler resources as the schedule develops. One person may fill multiple Project roles.
5.1.1.1       Tyler Executive Management

     •     Provides clear direction for Tyler staff on exectuting the Project Deliverables to align with
           satisfying the County's overall organizational strategy.

     •     Authorizes required Project Resources

     •     Resolves all decisions and/or issues not resolved at the Implementation Management level as
           part of the escalation process

     •     Offers additional support to the Project team and is able to work with other Tyler department
           managers In order to escalate and facilitate implementation Project tasks and decisions

     •    Acts as the counterpart to the County's Executive Sponsor
5.1.1.2       Tyler Implementation Management

     •    Acts as the counterpart to the County Steering Committee.

    •     Assigns Tyler Project personnel

    •     Works to resolve all decisions and/or issues not resolved at the Project Management level as
          part of the escalation process

    •     Attends the County Steering Committee meetings as necessary

    •     Provides support for the Project team

    •     Provides management support for the Project to ensure it is staffed appropriately and staff have
          necessary resources

    •     Monitors Project progress including progress towards agreed upon goals and objectives
5.1.1.3       Tyler Project Manager

The Tyler Project Manager(s) provides oversight of the Project, coordination of resources between
departments, management of the Project schedule and budget, effective risk and issue management,
and is the primary point of contact for all Project related items.

    •     Contract Management

          •     Validates contract compliance throughout the Project
          •     Ensures Deliverables meet contract requirements

          •     Acts as primary point of contact for all contract and invoicing questions

          •     Prepares and presents contract milestone sign-offs for acceptance by the County Project
                Manager(s)




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          •           Coordinates Change Requests, if needed, to ensure proper Scope and budgetary compliance

  •       Planning
          •           Update and deliver Implementation Management Plan

          •           Defines Project tasks and resource requirements
          •           Develops Initial and full scale Project schedule
          •           Collaborates with the County Project Manager(s) to plan and schedule Project time lines to
                      achieve on-time implementation

  •       Implementation Management
          •           Tightly manages Scope and budget of Project; establishes process and approval matrix with
                      the County to ensure Scope changes and budget planned versus actual are transparent and
                       handled effectively and efficiently
          •            Establishes and manages a schedule and resource plan that properly supports the Project
                       Plan as a whole that Is also In balance with Scope/budget
          •            Establishes risk/issue tracking/Reporting process between the County and Tyler and takes all
                       necessary steps to proactively mitigate these items or communicates with transparency to
                       the County any items that may negatively impact the outcomes of the Project

              •       Collaborates with the County's Project Manager(s) to establish key business drivers and
                      success indicators that will help to govern Project activities and key decisions to ensure a
                       quality outcome of the Project
              •        Sets a routine communication plan that will aide all Project team members, of both the
                       County and Tyler, In understanding the goals, objectives, current status and health of the
                       Project

      •       Team Management
              •        Acts as liaison between Project Team and Tyler Manager(s)
              •        Identifies .and coordinates all Tyler resources across all modules, Phases, and activities
                       including development, conversions, Forms, Installation, Reporting, Implementation, and
                        billing
              •         Provides direction and support to Project team
              •         Builds partnerships among the various stakeholders, negotiating authority to move the
                        Project forward
              •         Manages the appropriate assignment and timely completion of tasks as defined in the
                        Project Plan, task list, and Production Cutover Checklist

              •         Assesses team performance and adjusts as necessary
                  •     Interfaces closely with Tyler developers to coordinate program Customization activities
                  •     Coordinates with in Scope third party providers to align activities with ongoing Project tasks

5.1.1.4               Tyler Subject Matter Expert
      •           Possesses both a broad and deep understanding of the functionality within Tyler software
                  products for his/her functional area(s)



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     •     Provides confident recommendations regarding configuration decisions and business process
           best practices using Tyler's products based on his/her experience and expertise implementing
           Tyler software products with similar organizations

     s     Provides conversion consulting and mapping assistance

     •     Follows up on issues Identified during sessions

     •     Documents activities for onsite services

     •     Clearly documents homework tasks with specific due dates and owners, supporting and
           reconciling with the Final Project Schedule

     •     Keeps Tyler Project Manager(s) proactively apprised of any and all issues which may result In the
           need for additional training needs, change in schedule, change in process decisions, or which
           have the potential to adversely Impact the success of the Project prior to taking action

     •     Performs gap analysis and documents non-contracted modifications and Customization
           requests.

 5.1.1.5    Tyler Implementation Consultant

     •     Completes tasks as assigned by the Tyler Project Manager(s)

     •     Performs problem solving and troubleshooting

     •     Follows up on issues Identified during sessions

     •     Documents activities for onsite services performed by Tyler

     •     Provides conversion Validation and error resolution assistance

     •     Recommends guidance for testing Forms and Reports

     •     Tests software functionality with the County following configuration

     •     Assists during Cutover process and provides production support until the County transitions to
           Tyler Support.

     •     Provides product related education

    •      Effectively facilitates training sessions and discussions with the County and Tyler staff to ensure
           adequate discussion of the appropriate agenda topics during the allotted time

    •      Conducts training (configuration, process,. conversion VaUdation) for Power Users and the
           County's designated trainers for End Users

    •      Clearly documents homework tasks with specific due dates and owners, supporting and
           reconciling with the Final Project Schedule

    •      Keeps Tyler Project Manager(s) proactively apprised of any and all issues which may result In the
           need for additional training needs, change in schedule, change in process decisions, or which
           have the potential to adversely impact the success of the Project prior to taking action




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5.1.1.6. Tyler Trainer
    •           Provides product related education with documentation
    •           Effectively facilitates training sessions and discussions with the County and Tyler staff to ensure
                adequate discussion of the appropriate agenda topics during the allotted time
    •           Conducts training (configuration, process, conversion Validation) for Power Users and the
                County's designated trainers for End Users
5.1.1.7          Tyler Data Conversion Experts
    •           Validates customer data files are in proper format
    •           Develops customized conversion programs to convert Legacy System data into the Tyler
                database for production use according to defined mapping
    •           Provides error Reports on unsupported data conditions and the merging or normalization of
                data fields.
    •           Assists the County with understanding and interpreting error Reports
    •           Performs modifications and corrections to customized conversion programs as the County
                discovers data anomalies and exception conditions
 5.1.1.8          Tyler Reports/Forms Experts
     •           Provides specifications for all Forms & Reports in Scope
        •        Reviews requirements for Peripherals and Consumables, if applicable
        •        Conducts review of the County's form mockup sheets
        •        Develops final form designs
        •        Configures and installs Forms software and approved Forms
 5.1.1.9          Tyler Development
        •        Programs and incorporates Customizations per the specifications into the base product
        •        Performs internal quality assurance and developing technical and help documentation

        •        Provides software updates and defect fixes
 5.1.1.10 Iler Sales
            •     Provide sales background information to Implementation during Project Initiation
            •     Support Sales transition to Implementation
            •     Provide historical information, as needed, throughout implementation


  5.1.1.11 Tyler Software Support
        •         Manages incoming customer issues via phone, email, and online customer Incident portal
         •        Documents and prioritizes Issues in Tyler's Customer Relationship Management (CRM) system
            •     Provides issue analysis and general product guidance
            •     Tracks issues and tickets to timely and effective resolution



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    •       Identifies options for resolving reported Issues
    •       Reports and escalates defects to Tyler Development
    •       Communicates with the County on the status and resolution of reported issues
5.1.1.12 Tyler Basic Network Support (for applicable products)
    •       Manages Incoming customer Issues via phone, email, online customer incident portal, and from
            Software Support
   •        Provides system support Including remote support of the County systems, operating systems,
            network and local printing, and SQL assistance for the systems and platform directly attributable
            to the Tyler Applications
    •       Tracks issues and tickets to a timely and effective resolution
    •       Determine root cause and provide solutions or provide direction/escalation to Tyler
            Development
   •        Consult on pre-sales in regards to system requirements
5.1.1.13 Tyler Disaster Recovery Support (for applicable products)
        •     Conduct and monitor nightly backups of the County databases at hosting facility, transfer nightly
              backups to Tylers data center.
        •     Provides services to host Application in the event of a disaster
        •     Provides 24 hour RPO - Recover Point Objective
        •     Provides emergency response within 2 business hours
        •     Ensure Tyler Application availability within 8 business hours
        •     Provide one annual disaster planning walkthrough
5.1.1.14 Tyler Systems Management Services (for applicable products)
   •        Manages incoming customer Issues via phone, email, online customer incident portal, and from
            Software Support
   •        Provides system support including remote support of the County systems, operating systems,
            network and local printing, and SQL assistance for the systems and platform directly attributable
            to the Tyler Applications
   •        Tracks Issues and tickets to timely and effective resolution
   •        Determine root cause and provide solutions or provide direction/escalation to Tyler
            Development
   •        Consult on pre-sales In regards to system requirements
   •        Troubleshoot server and workstation Issues
   •        Migrate Tyler Applications and databases to new hardware
   •        Maintain systems and provide Database and Server Administration
   •        Provide proactive monitoring of Tyler Application/DB server(s}
   •        Perform server transfers, database analysis, file system cleanup, and backup verification.
   •        Assists with database refreshes, LDAP synchronization, and loading releases



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5.1.1.15 Tyler Saas Technicians
    •        Provides maintenance of hosted server hardware, Operating System, and Software Upgrades
    o        Provides IT-related services for server environment
             Provides remote technical assistance and tracks issues
    •        Provides Systems management and Disaster Recovery services within hosting services.
    •        Adds new County users; the County determines user names Incorporating a unique client
             identifier and user Initials.
    •        Performs Tyler Software Upgrades through coordination with the County.



 5.1.2       The County Roles and Responsibilities

 The County resources will be assigned prior to the start of each Phase of the Project.· One person may
 be assigned to multiple Project roles.
 5.1.2.1       The County Executive Sponsor
     •       Provides clear direction for the Project and how it applies to the organization's overall strategy
     o       Champions the Project at the executive level to secure buy-in
     •       Authorizes required Project Resources
     •       Resolves all decisions and/or issues not resolved at the County Steering Committee level as part
             of the escalation process
     •       Actively participates in Organizational Change Communications
 5.1.2.2       The County Steering Committee
        •    Works to resolve all decisions and/or issues not resolved at the Project Manager level as part of
             the escalation process
        •     Attends all scheduled Steering Committee meetings
        •     Provides support for the Project team
        •     Assists with communicating key Project messages throughout the organization
        •     Prioritizes the Project within the organization
         •    Provides management support for the Project to ensure it Is staffed appropriately and staff have
              necessary resources
         •    Monitors Project progress Including progress towards agreed upon goals and objectives
         •    Has the authority to approve or deny changes impacting the following areas:

              •   Cost
              •   Scope
              •   Schedule
              •   Project Goals
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          •     The County Procedures
5.1.2.3       Ing County Project Maner
The County shall assign Project Manager(s) prior to the start of this Project with overall responsibility
and authority to make decisions related to Project Scope, scheduling, and task assignment, and
communicates decisions and commitments to the Tyler Project Manager(s) in a timely and efficient
manner. When the County Project Manager(s) do not have the knowledge or authority to make
decisions, he or she engages the correct resources from the County to participate in discussions and
make decisions in a timely fashion to avoid Project delays.

    •     Contract Management

          •    Validates contract compliance throughout the Project

          •     Ensures Invoicing and Deliverables meet contract requirements

          •    Acts as primary point of contact for all contract and invoicing questions
          •    Signs off on contract milestone acknowlegment documents

          •    Collaborates on and obtains approval of change requests, if needed, to ensure proper Scope
               and budgetary compliance

    •     Planning

          •     Review and acknowledge Implementation Management Plan

          •    Defines Project tasks and resource requirements for the County Project team

          •    Collaborates In the development of and approval of the Project Plan and Project schedule

          •    Collaborates with Tyler Project Manager(s) to plan and schedule Project timelines to achieve
               on-time implementation

   •      Implementation Management

          •    Tightly manages Scope and budget of Project and collaborates with Tyler Project Manager to
               establish a process and approval matrix to ensure Scope changes and budget planned versus
               actual are transparent and handled effectively and efficiently

          •    Collaborates with Tyler Project Manager to establish and manage a schedule and resource
               plan that properly supports the Project Plan, as a whole, that is also in balance with
               Scope/budget

          •    Collaborates with Tyler Project Manager to establish risk/issue tracking/reporting process
               between the County and Tyler and takes all necessary steps to proactively mitigate these
               Items or communicates with transparency to Tyler any Items that may negatively Impact the
               outcomes of the Project

          •    Collaborates with Tyler Project Manager(s) to establish key business drivers and success
               indicators that will help to govern Project activities and key decisions to ensure a quality
               outcome of the Project

          •     Routinely communicates with both the County staff and Tyler, aiding In the understanding
               of goals, objectives, current status, and health of the Project by all team members

   •      Team Management


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          •     Acts as liaison between Project Team and Stakeholders
          •      Identifies and coordinates all the County resources across all modules, Phases, and activities
                 including data conversions, Forms design, hardware and software Installation, reports
                 building, and satisfying invoices
          •      Provides direction and support to Project team
          •      Builds partnerships among the various stakeholders, negotiating authority to move the
                 Project forward
                 Manages the appropriate assignment and timely completion of tasks as defined in the
                 Project schedule, task list, and Production Cutover checklist
          •      Assesses team performance and takes corrective action, if needed
          •      Provides guidance to the County technical teams to ensure appropriate response and
                 collaboration with Tyler Technical Support Teams to ensure timely response and
                 appropriate resolution
          •      Coordinates with in Scope third party providers to align activities with ongoing Project tasks

5.1.2.4        The County Functional Leads
    •     Makes business process change decisions under time sensitive conditions
    •     Communicates existing business processes and procedures to Tyler consultants
    •     Assists in Identifying business process changes that may require escalation
    •         Attends and contributes business process expertise for current/future state analysis sessions
    •         Identifies and Includes additional subject matter experts to participate In current/future state
              analysis sessions
    •         Provides business process change support during Power User and End User training
    •         Completes performance tracking review with client Project team on End User competency on
              trained topics
    •         Provides Power and End Users with dedicated time to complete required homework tasks
    •         Act as an ambassador/champion of change for the new process.
    •         Identifies and communicates any additional training needs or scheduling conflicts to the County
              Project Manager
     •        Prepares and Validates Forms
     •        Actively participates in all aspects of the implementation, Including, but not limited to, the
              following key activities:
                  •     Task completion
                   •    Stakeholder Presentation
                   •    Implementation management plan development
                   ·s   Schedule development
                   •    Maintenance and monitoring of risk register

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              •   Escalation of Issues
              •   Communication with Tyler Project team
              •   Coordination of the County resources
              •   Attendance at scheduled sessions
              •   Change Management activities
              •   Customization specification, demonstrations, testing and approval assistance
                  Conversion Analysis and Verification Assistance
              •   Decentralized End User Training
              •   Process Testing
              •   User Acceptance Testing
5.1.2.5    The County Power Users
    •     Participate in Project activities as required by the Project team and Project Manager(s)
    •     Provide subject matter expertise on the County business processes and requirements
    •     Act as Subject Matter Experts and attending current/future state and Validation sessions as
          needed
    •     Attend all scheduled training sessions
    •     Participate In all required post-training processes as needed throughout Project
    •     Participate in conversion Validation
    •     Test all Application configuration to ensure it satisfies business process requirements
    •     Become Application experts
    •     Participate In User Acceptance Testing
    •     Adopt and support changed procedures
    •     Complete all Deliverables by the due dates defined in the Project schedule
    •     Demonstrate competency with Tyler products processing prior to Production Cutover
    •     Provide knowledge transfer to the County staff during and after Implementation, as necessary
5.1.2.6    The County End Users
    •     Attend all scheduled training sessions
    •     Become proficient In Application functions related to job duties
    •     Adopt and utilize changed procedures
    •     Complete all Deliverables by the due dates defined In the Project schedule
    •     Utilize software to perform job functions at and beyond Production Cutover
5.1.2.7    The County Technical Support
    •     Coordinates updates and releases with Tyler as needed



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    •        Coordinates the copying of source databases to training/testing databases as needed for
             training days
    •        Extracts and transmits conversion data and control reports from the County's Legacy System per
             the conversion schedule set forth In the Project schedule
    •        Coordinates and adds new users and printers and other Peripherals as needed
    •        Validates all users understand log-on process and have necessary permission for all training
             sessions
    •        Coordinates Interface development for the County 3" party Data Exchanges.
    •        Assists in creating Reports as needed
     •       Ensures onsite system hardware meets specifications provided by Tyler
     •       Assists with software deployment as needed
 5.1.2.8       The County Upgrade Coordinator
     •       Becomes familiar with the Software Upgrade process and required steps
     •       Becomes familiar with Tyler's releases and updates
     •       Utilizes Tyler Community to stay abreast of the latest Tyler releases and updates, as well as the
             latest helpful tools to manage the County's Software Upgrade process
     •       Assists with the Software Upgrade process, if required, during Implementation
        •     Manages Software Upgrade activities post-Implementation
        •     Manages Software Upgrade plan activities
        •     Coordinates Software Upgrade plan activities with the County and Tyler resources
        •     Communicates changes affecting users and department stakeholders
        •     Obtains department stakeholder sign-offs to upgrade Production environment
 5.1.2.9       The County Project Toolset Coordinator
        •     Ensures users have appropriate access to Tyler Project Toolsets such as Tyler University, Tyler
              Community, Tyler Product Knowledgebase, SharePoint, etc.
        •     Conducts training on proper use of toolsets
         •    Validates completion of required assignments using toolsets
  5.1.2.10 The County Change Management Lead
         •    Validates users receive timely and thorough communication regarding process changes
              Provides coaching to Supervisors to prepare them to support users through the Project changes
         •    Identifies the impact areas resulting from Project activities and develops a plan to address them
              proactively
         •     Identifies areas of resistance and develops a plan to reinforce the change
         •     Monitors post-production performance and new process adherence

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        6           GLOSSARY

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         Change Control                               I A systematic approach for managing change governing how Change Requests
                                                      will be received, assessed and acted on.
                                                      An approachfor ensuring thatchangesarethoroughiy                                                                            and smoothly
    l.                                                implemegmnegandthatthestoe.benefitsofch@neeareachieved.mefocus
    I                                                 on theglobal impactofchange with anintensefocuson people andhow
                                                      individuals andteams movefromthe current situation tothe newone.
    I

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    i Change Request                                       A form used as part of
                                                                                the ChangeControl process whereby changes in the
                                                           Scope of work, timeline, resources, and/or budget are revised and agreed upon
                                                           by participating parties.
    i

    corsair@ies                                         [termsthatareusedrecurreny, usuallybsv Peripherals. Examples:paperstock
                              ea                      , orscanner cleaning kits.                                 •..       _
         Control Point                                           Occurring at the end of each Stage, the Control Point serves as a formal client
                                                                 review point. Project progress cannot continue until the client acknowledges
                                                                the agreed upon Deliverables of the Stage have been met, or agree on an action
                                                                 plan to make the Deliverable acceptable and move to next Stage while
                                                            j executing final steps of current Stage.
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I End User                                        , The person for whom the software is designed to use on a day-to-day basis.
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    _                                 gg_ _ whether internal(employees)or external(citizens)..«i ±.
[ Imports and Exports                               A process within the system that a user is expected to run to consume (Import)
                                    - or produce (Export) a specifically defined file format/layout.
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  interface
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  Install                                           References the initial Installation of software files on client servers and

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                                                      - -·--···--·--·••--··
                                                           auxiliary device ·------
                                                                               that connects to and works with the computer in some way.
 Peripherals
                                                   Examples: mouse, keyboard, scanner, external drive, microphone, speaker,
                                                   webcam, and digital camera.
                                             portion
                                                   A          Projectinwhich
                                                                 ofthe                 specificsetof related products typically       are
                                                   implemented. Phaseseachhave an independent start, Production Cutoverand
                                                      datesbut thesameImplementation as
                                                   closure              use                           Plans other Phases          the        within
                                                                         sequential and
                                                    Project. Phases may overlap orbe                      may have the same Tyler
                                                    Project manager or different individualassigned.
  Power User
                                                    An experienced client person or group who is (are) an expert(s) in the client
                                                    business processes, as well as knowledgeable in the requirements and
                                                    acceptance criteria.
  pnjaf}                                             ieProject includes all implementation activity from Plan & initiate toClosure
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                                                   forallproducts, Applications and functionality includedin a single Agreement.
                                                    The Project may be broken down into multiple Phases.
                                                                                    -· _J.________________ .. . ,      ·'~---'-----:
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   Project Plan                                  I The Project Plan serves as the master blueprint for the Project. As developed,·
;                                                I
                                                    the Project schedule will become a part of the Project Plan and outline specific
                                                  l details regarding tasks included in the Project Plan.
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  Questionnaire                                  A document containing a list of questions to be answered by the client for the
                                                 purpose of gathering Information needed by Tyler to complete the
                                                 implementation.                                                                  l

                                                                 levelof participationby
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                                                1A chart describing                                 various roles in completine              taslsor
                                                 Deliverables for a Project or process. Also known as a responsibility assignment
 a.a. a.aaa..«aa
                                             matrix   a
                                                                 (RAM) or linearresponsibility chart(LRC).
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 1 Reports                                     ! Formatted to return information related to multiple records in a structured
                                               I format, Information is typically presented in both detail and summary form for
                                                  a user to consume.
                                  f?     I   Products and
           ,_....,,.,.....,_,,~~~---..,...-•-, .,..... :,,.. -.-----.,~ . .  ---·7,:;r.-•
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   Stage                                         The top-level components of the WBS. Each Stage is repeated for individual
                                                  Phases of the Project and requires acknowledgement before continuing to the
                                                  next Stage. Some tasks in the next Stage may begin before the prior Stage is
                                                  complete.
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                         representatives to presenthigh level Pro
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                   _   Se._   Tyer client.
                                  ___ _ [Project-specific                  Deliverables       will provtde to the
       Test Plan                              Describes the testing process. Includes "Test Cases" to guide the users through
                                              th. e testing proc.· ess. Test ca.ses are mean.t· to be a base.line for._core pr.ocess;d
                                                                                                                                    .s;
                                              the client is expected to supplement with client specific scenarios and
                                              processes,




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 va1datton (or to validate)
                                          -----------
                                      The process of testing and approving that a specific Deliverable, process,
                                      program or product is working as expected.
  Work Breakdown Structure        ?   Ahierarchical representation of Project   orhase
                                                                                  P       broken     down
                                                                                                        into smaller,
  (WBS)        ..••           -       more2manageable
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 7   APPRAISAL & TAXATION CONVERSION SUMMARY

 This information has been moved to the DED-3 Data Conversion Plan document.

 8   EAGLE RECORDER CONVERSION SUMMARY

 This information has been moved to the DED-3 Data Conversion Plan document.




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               ADDENDUM NO. 1 TO PHASE 2 SERVICES AGREEMENT

       This Addendum No. 1 to Phase 2 Services Agreement is made and entered into between

the County of Anoka, a political subdivision of the State of Minnesota ("County'') and Tyler

Technologies, Inc. ("Tyer").

       WHEREAS, County and Tyler are parties to a Phase 2 Services Agreement dated February

23, 2017 (the "Agreement"), pursuant to which Tyler agreed to provide certain software

implementation services and ongoing software services; and

       WHEREAS, the parties initially projected that the System would achieve final production

cut-over by December 2018; and

       WHEREAS, the parties acknowledge and agree that a December 2018 final production cut-

over is not feasible; and

       WHEREAS, the parties have agreed to revise the Project Plan and certain payment terms

to reflect an agreed upon revised Project Plan; and

       WHEREAS, the parties now enter into this Addendum to amend the terms pursuant to

which the project moves forward.

        1.     Final Production Cut-Over Date.        County and Tyler agree that the final

production cut-over as described in the Project Plan, as revised and incorporated into the

Agreement via this Amendment, shall occur at a mutually agreeable time between July 12 and

August 5, 2019. All modules of the final system shall go live simultaneously on the same agreed

date between July 12 and August 5, 2019, except for those modules and customizations which are

excluded from such go-live date as indicated on the High Level Project Schedule attached to this

Amendment as Exhibit A (the "High Level Project Schedule"). Tyler and County agree that all




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                                                                                   EXHIBIT B
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work described in Exhibit C to the Agreement will be completed as described in the High Level

Project Schedule.

         2.      Amendment to Saas Fees. Exhibit H to the Agreement is a Software as a Service

Agreement ("Saas Agreement") between Tyler and County which sets forth the Recurring

Costs/Maintenance & Support (SaaS Fees). The parties hereby amend the payment schedule table

in Exhibit A, Investment Summary of the SaaS Agreement in its entirety, and replace it with the

following in lieu thereof. Accordingly, the table listing the Saas Fees for the initial 5 year term,

encompasses the following payments:

 Application            One-Time                    Recurring Costs/Maintenance & Support (Saas Fees)
                                                           ..
 Softw are                  costs/                    .,




                        Licensing          Year 1      Year 2             Year 3            Year 4             Year S




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 CAMA/Tax           $
 Standard                            $473,250.00    $473,250.00       $473,250.00        $473,250.00       $473,250.00


 Amendment 1
 Discount                                                             ($166,666.00)      ($166,666.00)     ($166,666.00)


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 CAMA/T ax
 Standard S00S
 Fee                                 $473,250.00    $473,250.00       $306,584.00        $306,584.00       $306,584.00


 Eagle              $
 Recorder           .                $219,376.00    $219,376.00       $219,376.00        $219,376.00       $219,376.00


    Eagle
 Recorder    -
 Hosting
 (storage)(1)                        $42,000.00     $44,000.00        $46,000.00         $48,000.00        $50,000.00

 Tyler                  $
 Cashiering         .                $59,300.00     $59,300.00        $59,300.00         $59,300.00        $59,300.00



                                     $38,260.00
 Selectron
 IVR(2)             $97,290.00       (3)            $38,260.00        $38,260.00         $38,260.00        $38,260.00




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                                                                                                         EXHIBIT B
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TOTAL
APPLICATION
SOFTWARE         $97,290 .00   $832,186.00   $834,186.00   $669,520.00   $671,520.00     $673,5 20.00




       3.     Compensation to County-Extension of Fixed Pricing Structure. In addition

to the agreement by Tyler to discount the Years 3-5 SaaS Fees as described in Section 2 of this

Addendum, upon renewal of the Saas Agreement following the initial five (5) year term, Tyler

agrees that the SaaS Fees payable by the County for the Tyler Software during the portion of the

renewal term which occurs within five years from the date on which Tyler completes the final

production cut-over and the System goes live, shall be at the same, undiscounted SaaS Fee rates

as provided during Years 1-5. Thereafter SaaS Fees shall be determined as described in the Saas

Agreement.

       4. Phase 2 Services Agreement Invoicing and Payment Policy. The payment milestone

schedule in Exhibit B of the Agreement ("Invoicing and Payment Policy') is hereby deleted in its

entirety and replaced with the following in lieu thereof. The parties acknowledge and agree that

the process for acceptance of the Control Points as described in the Statement of Work of the

Agreement is not modified by this Amendment.




                                                 3

                                                                                       EXHIBIT B
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                                                                                                            Status/Estimated
 Initiate and Plan Stage                                            % of contract   Fee per milestone
                                                                                                            invoice Date
 Contract signing                                                       2.5%        $          79,198.00    Paid
 Phase 2 project schedule accepted                                      5.0%        $         158,396.00    Paid
 Implementation management plan accepted                                5.0%        $         158,396.00    Paid

 Control Point 1: Initiate and Plan Stage Complete Stage total         12.5%        $         395,990.00


 Assess and Define Stage

 Initial conversion data mapping accepted                              10.0%        $         316,792.00    Paid
  Final scope accepted                                                  2.5%        $          79,198.00    July, 2018

 SaaS environment site access                                           2.5%        $          79,198.00    Paid
 Control Point 2: Assess and Define Stage Complete Stage                                      475,188.00
                                                                       15.0%        $
 total


  Bulld and validate Stage

  Quarterly Release Configurations/Customizations 1 Delivered           10.0%        $        316,792.00    Paid
  Onsite training for County core users completed                       5.0%         $        158,396.00    September, 2018

  First conversion iteration accepted                                  10.0%         $        316,792.00    December, 2018

  Quarterly Release Configurations/Customizations 2 Delivered           2.5%         $         79,198.00    October, 2018

  Quarterly Release Configurations/Customizations 3 Delivered           7.5%         $        237,594.00    January, 2019

  Quarterly Release Configurations/Customizations 4 Delivered           7.5%         $         237,594.00   Apr1, 2019

  Quarterly Release Configurations/Customizations 5 Delivered           2.5%         $         79,198.00    July, 2019
  Control Point 3: Build and Validate Stage Complete Stage                                  1,425,564.00
                                                                       45.0%            $
  total


  Final Testing and Training Stage
  lasWorld/Eagle Recorder/Tyler Cashiering integration                  5.0%         $        158,396.00    May, 2019
  functioning - accepted
  User acceptance testing (UAT} completed without critical or
  high defects (critical and high defects as are defined In             5.0%         $        158,396.00    July, 2019
  Exhibit C, Schedules 1 and 2of the Saas Contract)
  Control Point 4: Final Training and Testing Stage Complete                                  316,792,00
                                                                        10.0%        $
  Stage total

  Production Cutover Stage
  Final conversion accepted                                             2.5%         $         79,198.00    August, 2019

  Production cut-over                                                   5.0%         $        158,396.00    Augus t, 2019


  Control Point 5: Production Cutover Stage Complete Stage                                    237,594.00
                                                                        7.5%         $
  total


  Phase/Project Closure Stage
  FInal acceptance without critical or high defects (critical and       10.0%        $        316,792.00    January, 2020
  hlh defects as are defined in Exhibit C, Schedules 1 and 2


                                                               4

                                                                                                        EXHIBIT B
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  of the Saas Contract)

  Control Point 6: Phase/Project Closure Stage Complete Stage
                                                                10.0%    $     316,792.00
  total

  Tyler Technologies Phase 2 Services TOTAL                     100.0%   $   3,167,920.00

  Selectron IVR
  Contract Execution                                             25%            $25,623.7    Pald
  Comoletlon of svstem Installation In data center               50%            $51,247.5
  30 days following completion of system lnstallatlon In data    20%            $20,499.0
  center
  Final acceptance                                               5%               5.124.75


  Selectron IVR Phase 2 Services TOTAL                                            $102,495




  TOTAL PHASE 2 SERVICES                                                       $3,270,415




        4.        Performance Bond: Tyler will secure an extension of the Bond for one (1)

additional year (such that the Bond will have a 36 month term measured from the Effective Date

of the Agreement). The cost of the extension of the Bond will be paid by Tyler.

        5.        Project Plan. Attached as Exhibit A to this Addendum is a High Level Project

Schedule that will govern all remaining stages of this project. Tyler agrees to complete all of its

work identified in the Project Plan according to the High Level Project Schedule, subject to Section

B(8) of the Agreement. Failure by Tyler to materially comply with the High Level Project

Schedule may constitute a breach of both this Addendum and the Agreement; provided, however

that the parties recognize that the Target Dates shown on the High Level Project Schedule may

need to be revised in the future as work progresses. The parties agree to work in good faith to

discuss revisions to the Target Dates and/or High Level Project Schedule as they become

necessary. Revisions to the Target Dates and/or High Level Project Schedule may be made

pursuant to the Change Control Process outlined in Exhibit C of the Agreement. Notwithstanding

the foregoing, Tyler and County agree that the Final Production Cut-Over Date set forth in


                                                            5

                                                                                       EXHIBIT B
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Paragraph 1 shall not be subject to revision, and whatever other dates may be revised pursuant to

joint agreement in the High Level Project Schedule, the Final Production Cut-Over Date will

remain on a mutually agreeable date between July 12 and August 5, 2019, except as subject to

Section B(8) of the Agreement. County shall have the same right to enforce the Project Plan as its

right to enforce any other term of the Agreement.

       6.      Legislative Changes. The Tyler Software products implemented at production

cutover must include all legislative changes passed prior to the cutover date. Any legislative

changes passed prior to production cutover, but with an effective date after production cutover,

will be added to the base product by the effective date with no additional cost to Anoka County.

In addition, Exhibit C to Exhibit H to the Agreement is Tyler's Tax Support Call Process.

Paragraph 6 of that exhibit provides that Tyler will provide up to 80 base system programming

hours per state per calendar year of the Agreement to address state legislative changes. Tyler

agrees to increase the amount of such hours from 80 to 120 during the initial term and first renewal

term, if exercised by County, of its SaaS Agreement with County.

       This Addendum and its exhibit are hereby made a part of the parties' Agreement. Except

as modified herein, all terms of the Agreement and its exhibits (including but not limited to the

Saas Agreement) remain in full force and effect. Capitalized but undefined terms used in this

Amendment shall have the same meaning as set forth in the Agreement.




                                                 6

                                                                                      EXHIBIT B
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IN WITNESS WHEREOF, a duly authorized representative of each party has executed this
Agreement as of the date(s) set forth below.

Tyler Technologies, Inc.                        Anoka County, Minnesota




Name: Jisel Lopez
                                                .d.
                                                Nae.(hod Sarah
                                                                 7




Title: Senior Corporate Attorney                TeCha            Hok           ah, riser
Date: 8/13/2018                                 Date:




                                                mt/hok,        oh4 hhnhistaal
                                                9·60ir
                                                Office of the Anoka County Attorney

                                                By:                                    _

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                                                                              EXHIBIT B
                                                        CASE 0:20-cv-01524-PAM-ECW Doc. 1-1 Filed 07/06/20 Page 96 of 107


                                                                                                                                                                                                                                                                                                                                             Exhibit A

High Level Project Schedule                                                         Target Date              ID#                                                                                  Notes                                                                                                       Target date = initial delivery_
Conversion Key Dates
Conversion 1 - iasWorld                                                  9/4/2018 .                           146/Test db loaded for Anoka Revie.-
Conversion 2 - iasWorld                                               , 11/29/2018.                           161/Test db loaded for Anoka Review                   --           -                j
  --- - - ----
Conversion 3 - iasWorld
                                               -
                        ·- ·- ....•.... ·····---· -     --
                                                     ----- -      -----
                                                                    -] 1/12/2019 '                            176/Test db loaded for Anoka Review-- + 1 --
  le-   auk conversion    eveto»men           (internal to Ten)   -- l 1/1/2018
                                                                          ' i/a/019
                                                                                                              700/Mapping, Coding, and conversion/Development
                                                                                                                  [rest           ab
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                                                                                                                          1oded tor rer Review; Ea@le PM will update percentage of completion and ; ;
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Eagle -Bulk Conversion Handoff
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                                                                           l                                  702/other status items in weekly call with the County                               }   j
                                                      --   '1/14/2019                                         705/Test dbloaded for Anoka Re-                    -------                          t --: -
Eagle - Client Conversion Review-
Conversion - iasWo rld DocManager - Test load sample data 1of25/201s                                          1s7                                          -                                                                                                                   [
Conversion - iasWorld DocManager - PROD                            7[29 /2019                                 374/                                                             ---                                                                                             t                              -'
Conversion - Sketches/iasWorld -.
                                                                   11/6/2018                                  191.                          --                                                                                                                             ·---
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Conversion - Bond Recite_
Conversion Final Pass Load to Prod
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                                                                   7/31/2019
                                                                                                    =:        1951                     --   -   -- -       -         --------
                                                                                                              371/£ale and iasWorld; also includes Bond Re, Sketches, etc
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Integrations/lntgr[aces
iasworld/Eagle                                                     10/5/2018                                  198/                                                                                                                                                                      -------- .... - -----··--
iasWorld/Eagle/Tyler Cashiering                                    3/29/2019                                  199                                                                                                                                                                           -- -.-- ----·-·--------·--- -- ---1
Public {web) Access                                           ' 7/18/2019                                     203
eRecording (Eagle)                                                                  inanes Gs,
IVR to iasWorld                                                                         2/11/2019             211/
                                                                                        9/30/201s"            221/cont@orauon porion aferdevelopment conlee.
MOM's(Eate)
GlS/Pictometr                                                                           7/30/201s            2a'                                               -
Mortgage Companies                                                                       1/9/2019             230
Permit Works and LOGIS                                                                  1/9/2019              235.
·---·· -                 . ------------
                                                                                        om/o1a" 2o,
 Sherril's Website - Foreclosure(Eagle)
 ActiveDirectory/Single Signon                                                     +o/anons' a
 Ch eck scanners (Tyler Cashiering)                                            •        1/21/2019 ZR.                                                                --------------·
 CTLI - Stat Tax Liens (Eagle)
 Customizations (BRD's)
                                                                                        9/7/2018 , 257/-
                                                                                                                     ,                                                                                                                                                                                             I
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 Group 1: 27                                                                     10/5/2018 ' 315/7his is an inter@ration pol
 Group 2: 3/30, 4,6, 6. 10                                                     ,1 0/29/2018 l 318i
 Group 3: 11, 15, 15R2, 17R, 22, 23, 29                                        , 1 n2no19 { 31]                                                                -------------
 Group 4: 1, 1R1, 1R2, 1R3, 1R4, 09, 25                                        ' 4/29/2019 1  320%
  Group 5: 2, 12, 16, 19                                                          7/29/2019 , 321/final go lie delivery date torGr
                                                                                                                                 u s: 0t31, 2019                                                                                                                                    }        --
  Reports - iasWorld                                                               1/0/2019   323

Test Plans - iasWorld                                                                   «/19/2019            337
- Full System Testing                                                                   6/28/2019              341

                                                                                     March - May ;




                                                                                                                                                                                                   ...                                                                                     + ----;-----t:.·==
Training Sessions - iasWorld                                                       '····· _?019. 1__3_47_ !~---                                                                                                                                                                     iI t;                                                             l
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System installation
 Tyler Cashiering
                                                                          T
                                                                                              "                341This starts on 341 deliverable in full system testing.
                                                                                                                                                                                                                                                            ---i==~~-----l-::.::~__'.                                                             _
 Build and validate stage acceptance                                                    2/27/2019              44                                      -       ·--                         -              ---
                                                                                         9/4/2019 .            505. --
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 Field Mobile To Production
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 Public Access
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 Eargle Configuration



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                                                  CASE 0:20-cv-01524-PAM-ECW Doc. 1-1 Filed 07/06/20 Page 97 of 107


                                                                                                                                                                                                                                                                              Exhibit A

                                                                                                ID #                                           Notes                                                            get date = initial delivery
                                                                                                                                                                                                              Tar
High Level Project Schedule                                                       Target Date                                                                                                                                                    ---~-~----.--·-             ---


Self Serice Marriage                                                              7/11/2018     637 /Per email from Lucinda on 6/18/18: Configuration complete; Self Service Felony
                                                                                                     Marriage Status development to complete 7/11/18; Enhancement request for copying
                                                                                                     fields with Development for pricing. {The contract has a Do Not Exceed amount.)
                                                                                                     7/2/18-The date on this line is not on the Project Plan but from the email from
                                                                                                     Lucinda.
Configuration: Data Fields, Presentations, and Search Bins (Death                   7/31/2018' 664/Per mart                     fmn
                                                                                                                     ucind 6G/18/18: AII set up complete except Notary Registration.
Certificates); Coordinating with Forms (Historical Index); Entering Document                  I      7/2/18- The date on this line is not on the Project Plan but from the email from
Types {Military Discharge, Notary Registration, Ordination, Licenses,                                Lucinda.                                                                                                                     i
Abstract/Torrens, Plat, Torrens Certificate                                                                                                                                                                                       I
                                                                                    8/31/2018                 692/Per email from Lucinda on 6/18/18: Configuration complete except label and docume, '1
Marriage Underage processing; Label setup; Document stamp setup for                                               stamp revisions and Tyler Cashiering components dependent on development; Journal           i
eRecordings; Cashiering setup {Receipt,Tills, Tenders, Journal Accounts)                                          ccount setup. 7/2/18 - The date on this line is not on the Project Plan but from the l
                                                                                                                    email from Lucinda.              ..---                                                    '                                           --- ---i---···--
Complete Configuration: Includes /D/M certified copy request, metadata
                                                                                    8/31/2018                 cosier         ait uiaa c/is/is: waive for oded oeGai6to, :
                                                                                                                    reconfiguration; House ccounts, miscellaneous fees, and birth certified copy request
setup, doc type setup, fees and fee schedules, house accounts, etc.
                                                                                                                 form changesremaining
Eagle Recorder - New Dev Items from 2018.3 release                                  8/10/2018                 696
                                                                                      ····-····---··- .
Eagle Workflow                                                                      9/14/2018.                692 Per email from Lucinda on 6/18/18: Configuration once Dev completes
                                                                                                                           . ---------·--           ..  ----·--··-"    ---- ··---------                               - •-• -- ·- -i .

Eagle Test System Set up                                                                1o/1/201s                       Date a£reement on June 25, 2018 confcall with Tyerand County PM's.
                                                                                     - · -·~. -- .       1·
                                                                                l ···------··-       .
Eagle Customizations                                                                                                                                                                                        -·--------------•·        t



Release 2018.2: Receiptingenhancements to hande Pay Now taxes                        4/11/2018 796 Complete per Lucinda email 6/18/18..
                                                                                         -. 'GAG 'Pending iasworld completion fore we can test Eagle dev - per Lucinda email 6/18/1
·iasWorldworkflow for sending info to iasworld
                                                                                                         '<an icomplete per Lucinda ema16/18/18
                                                                                                                    ;
 - iasWold Parcel Integration - searchinp and importing parcel and legal data
from iasWorld within the receipt presentation                                                                  i                                     . - - - ----------- . .
                                                                                                           652 /Configuration to occur as development completes - per Lucinda email 6/18/18
Form Setup: Certified Copy Requests for Birth, Death, and Marriages;                 9/15/2018
Notary; Plat, Abstract, Torrens, & @Recording Cover Sheets; Torrens
Certificate; Certificate of Filing for Ordination; Statement to Identify
Certificate
Release 2018.3                                                                       7/20/2018 797-809
 - Torrens Phase 2

 - Marriage: new status for pending items in queue and Felon Status Queue ]                                                                                                                           ,., Y•·-•i                          l_..              ···----! __ -- ---·--
 - Historical Data Parcel er                                                  r         t                        'complete per Lucinda email 6/18/18                                                                                                  l.
                                                                                                                                                                                                                                                      ;
                                                                                                                                                                                                                                                             -·-·   __   ;
                                                                                                                 [compete erLucinda ema 6/18/18
 - Self Service - mobilization for iPad                                                                                                                                                                                                                      -      - I! -
 -Gel 0 maybead4cover          ace                                                                               Completeper Lucinda email 6/1/--
 - Public searching.
 - Scan First - apply stamp.                                                                                     CompletePeucinda ems1 6/18/18
 - eRecording - batchnumbers and validators                                                               ---·---4-•-.
  - Document listing,--
                                                                                 !- -- -
  - Batch concept
  - Enhance Journal Activity Report                                                                           ooh       e-
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 Configuration: Data Fields, Presentations, and Search Bins (Death                                           664                                                                                                  I
 Certificates); Coordinating with forms (Historical Index); Entering Document
 Types (Military Discharge, Notary Registration, Ordination, Licenses,
 Abstract/Torrens, Plat, Torrens Certificate)                                                             __,                       _
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 Release 2018.4
 Tyler contacts                                       --------!-
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 Reports-Earle                                                          <                 10/5/2018/           657l                        -----
                                                                                                                                                                                                                                                    EXHIBIT B
                              CASE 0:20-cv-01524-PAM-ECW Doc. 1-1 Filed 07/06/20 Page 98 of 107


                                                                                                                                                                                             Exhibit A

                                           Target Date    ID#                                            Notes                                               aret date = initial deliven¥
High Level Project Schedule
                                          J--------------------------
Eagle UAT - On Site                                                                                                                            --------·--·-··-·.. ------
- Test plan deliver ed                       9/10/2018i    721i
                                                         73/
- Perform UAT                               __10/1/201817H _ ··!First week_ only_~arbara _l5._on:slte:                                                            -----1    ,. ------·---;- ---
- Resolve issues fro m UT                   10/26/2018    726
-· --- --··~·-·                               6/24/2019i 7 28/inclu des the End user Traioiz in June/joy
- Full System Test                                                                                                                                  ··•···   '·
                                          7/12/19-                I modules will go live with the exception of Field Mobile and the agreed upon BRD's

Go live                                   8/5/19           379(Group 5:#2,12,16,19 and potentially tt5 which remains pending as of July 27, 2018)




                                                                                                                                                                           EXHIBIT B
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               ADDENDUM NO. 2 TO PHASE 2 SERVICES AGREEMENT

       This Addendum No. 2 to Phase 2 Services Agreement is made and entered into between

the County of Anoka, a political subdivision of the State of Minnesota ("County') and Tyler

Technologies, Inc. ("Tyler").

       WHEREAS, County and Tyler are parties to a Phase 2 Services Agreement datedFebruary

23, 2017 (the "Phase 2 Agreement"), as amended by Addendum No. 1 dated August 24, 2018

("Addendum No. 1")(the Phase 2 Agreement and Addendum No. 1 are collectively the

"Agreement"), pursuant to which Tyler agreed to provide certainsoftware implementation services

and ongoing software services; and

       WHEREAS, the parties have agreed to revise the Project Plan and certain payment terms

to reflect an agreed upon revised Project Plan; and

       WHEREAS, the parties now enter into this Addendum No. 2 to amend the terms pursuant

to which the project moves forward.

        1.     Final Production Cut-Over Date.         County and Tyler agree that the final

production cut-over as described in the Project Plan, as revised and incorporated into the

Agreement via this Addendum No. 2, shall occur at a mutually agreeable time, but no later than

November 12, 2019 unless otherwise requested by County and agreed to by Tyler. All modules

ofthe final system shall go live simultaneously on the same agreed date, except for those modules

and customizations which are excluded from such go-live date as indicated as "After Go Live" on

the High Level Project Schedule attached to this Addendum No. 2 as Exhibit A (the "High Level

Project Schedule").
       2.      Amendment to SaaS Fees. Exhibit H to the Agreement is a Software as a Service

Agreement ("SaaS Agreement") between Tyler and County which sets forth the Recurring


                                                 1


                                                                                        EXHIBIT C
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 Costs/Maintenance & Support (Saa Fees). The parties hereby amend the payment schedule table

 in Exhibit A, Investment Summary of the Saas Agreement in its entirety, and replace it with the

 following in lieu thereof. Accordingly, the table listing the SaaS Fees for the initial 5 year term,

 encompasses the following payments:

  Appllcatlon             One-Time
                                           ,.      is .   p9
                                                                      Recurlng      costs/
                                                                                         Malntenance & Support (saas Fees)
  Software                 cosst                           ,au        us                            3
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                              ucens tnzg           Year 1                 Year 2                   Year 3              Year 4                   Year5
                                                                                                               w




  iasWorld
  CAMA/Ta                 $
  Standard            .                     $473,250.00              $473,250.00                $473,250.00        $473,250.00              $473,250.00

  Addendum #1
  Discount                                                                                      (515,555. 0)       ($165,555.20)            {$165,65.21

  Addendum l2                                                                                                      (350,000.09)             ($0,000.00)
  Discount
  Net iasWorld
  CAMA/Tox
  Standard Sc0S
  Fee                                       $473,250.00              $473,250.00                $306,534.00        $256,584.00              $254,584.00

  Eagle                $
  Recorder            -                     $219,376.00              $219,376.00                $219,376.00        $219,376.00              $219,376.00

    Eagle
  Recorder     -
  Hosting
  (Stora ge)(1)                                 $42,0c0.00           $44,000.00                 $46,000.00         $43,000.00               $50,000.00

  Tyler                $
  Cashiering          -                     $59,300.00               $59,300.00                 $59,300.00         $59,300.00               $59,300.00


                                            $38,260.00
  Selectro n
  VR(2)               $97,290.00            (3)                      $38,260.00                 $38,260.00         $33,260.00               $38,260.00




  TOTAL
  APPLICATION
  SOFTWARE            $97,290.00            $832,186.00              $834,186.00                $669,520.00        $621,520.00              $623,520.00




               3.   Project Plan. Attached as Exhibit A to this Addendum No. 2 is a revised High

 Level Project Schedule that will govern all remaining stages ofPhasc 2 services. Tyler and Anoka


                                                                          2



                                                                                                                                            EXHIBIT C
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each agree to complete all of their respective work identified in the Project Plan according to the

revised High Level Project Schedule, subject to Section B(8) of the Agreement. Failure by Tyler

to materially comply with the High Level Project Schedule as attached to this Addendum No. 2

may constitute a breach of both this Addendum and the Agreement; provided, however that the

 parties recognize that the Due Dates shown on the High Level Project Schedule may need to be

revised in the future as work progresses. The parties agree to work in good faith to discuss

revisions to the Due Dates and/or High Level Project Schedule as such revisions become

necessary. Revisions to the Due Dates and/or High Level Project Schedule may be made pursuant

 to the Change Control Process outlined in Exhibit C of the Agreement. Notwithstanding the

 foregoing, Tyler and Couty agree that the dates for (@) commencement ofFull System Integration

 Testing (September 16, 2019) and (ii) Final Production Cut-Over ("Go-Live on the High Level

 Project Schedule, November 12, 2019) set forth in the revised High Level Project Schedule shall

 not be subject to revision, and whatever other dates in the High Level Project Schedule may be

revised, the dates for the commencement of Full System Integration Testing and the Final

 Production Cut-Over will not change, except as subject to Section B(8) of the Agreement

        4.      Miscellaneous. This Addendum No. 2 and its exhibit are hereby made a part ofthe

 parties' Agreement. Except as modified herein, all terms of the Agreement and its exhibits

 (including but not limited to the Saas Agreement) remain in full force and effect. Capitalized but

 undefined terms used in this Addendum No. 2 shall have the same meaning as set forth in the

 Agreement.




                                                 3



                                                                                         EXHIBIT C
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 IN WITNESS WHEREOF, a duly authorized representative of each partyhas executed this
 Agreement as of the date(s) set forth below.

 Tyler Technologies, Inc.                       Anoka County, Minnesota



 By.      le-doe#                      _


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                                                                                 EXHIBIT C
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#    .-


                                                                        Exhibit A
                                                     High Level Project Schedule




                                  SEE ATTACHED




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                                                                       EXHIBIT C
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                      Anoka County
                      COUNTY ADMINISTRATION
                      Information Technology


                                        February 21, 2020

Andrea Fravert
Senior Corporate Attorney
Tyler Technologies, Inc.
One Tyler Way
Moraine, OH 45439

Dear Ms. Fravert:

       You will recall that in February 2019 I wrote you to express concern about Tyler's
perfonnance under its Phase 2 Services Agreement with Anoka County. At that time, the parties'
amended contract required Tyler to complete all its work under the contract by no later than August
5, 2019. That contract had been amended, of course, because Tyler failed to meet its original
contractual completion date of December 2018. I wrote you in February 2019 because the revised
August 2019 completion date also appeared to be in peril.
       Our discussions last February led to a second amendment to the Phase 2 Services
Agreement, through which Tyler agreed to complete all its work by November 12, 2019. Anoka
County later agreed to a short extension of that deadline until November 21. As of that date, Tyler
agreed that all its work under the contract would be completed.
        While the system did indeed "go live" on November 21, it has become apparent that Tyler
did not complete anything close to all the work necessary to make Anoka County's system fully
functional. Since November 21, Anoka County has made clear that Tyler has not complied with
its contractual obligations and has noted many areas that remain incomplete. Anoka County has
attempted to work with Tyler in good faith to address those concerns, but it has become apparent
that Tyler is not taking its obligations seriously. Anoka County cannot wait any longer for this
project to be finished.
        Pursuant to Section F(2) of the Phase 2 Services Agreement, Anoka County hereby
provides fonnal notice of a dispute under its contract with Tyler. Anoka County further provides
notice that Tyler has already breached the Agreement and Addenda by failing to comply on
numerous occasions with the schedules it has negotiated.
        Anoka County faces a statutory deadline of March 31 to mail certain forms to its taxpayers.
Anoka County's printing vendor requires those forms by no later than March 16 to meet the
statutory deadline. As of today, Tyler's system has a number of problems that will prevent Anoka
County from being able to provide the required information. Attached as Exhibit A is a list of
hundreds of specific deficiencies that Anoka County is waiting for Tyler to correct.
       The items highlighted in orange on Exhibit A are those items that must be corrected prior
to March 16 to permit Anoka County to meet its statutory deadline. For the remainder of the items,
Tyler must take the steps necessary to correct those issues (and complete all additional work that
needs to be done to give Anoka County the fully-functioning system for which it contracted) by



                                                                                       EXHIBIT D
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no later than close of business on April 17. The only exception is for the few specific items where
Anoka County has previously agreed to a due date after April 17.
        Anoka County has informed Tyler repeatedly of the real world harm it suffers from Tyler's
inability to finish its work. Yet despite those entreaties, Tyler has not devoted anything close to
the number of staff necessary to complete this project. The regular executive level meetings that
Tyler held in advance of the November go live date have stopped. Tyler has pulled key members
of the project team to work on another county's system. One key team member quit weeks ago
and has not been replaced. Another has been on medical leave for weeks, and also not been
replaced. Even this week, with the March 16 deadline looming, a key individual has been on
vacation.
        Tyler should have finished this project more than three months ago. It is unacceptable that
Anoka County must continue to cajole Tyler into performing its basic contractual obligations. If
Tyler does not complete all the highlighted items by March 16 and the remaining items by April
17, then Anoka County will commence litigation. Tyler's repeated breaches of the parties' contract
have caused Anoka County to incur significant damages. Those damages will increase
exponentially if Tyler does not meet these final two deadlines.
       Please let us know what steps Tyler plans to take to meet these two deadlines.




                                                             Assistant County Attorney
                                                             Anoka County Attorney's Office




                                                                                      EXHIBIT D
